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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                               CASE NO. 14-24009-CIV-JLK

         WILLIAM FULLER AND
         MARTIN PINILLA,

                          Plaintiffs,                     MIAMI, FLORIDA
                  vs.
                                                          MAY 17, 2024
         JOE CAROLLO
                                                          PAGES 1 - 136
                          Defendants.           /


                             TRANSCRIPT OF MOTION HEARING
                        BEFORE THE HONORABLE JUDGE LAUREN LOUIS
                             UNITED STATES DISTRICT JUDGE




         APPEARANCES:

         FOR THE PLAINTIFFS:                JEFFREY GUTCHESS, ESQ.
                                            ROSSANA ARTEAGA-GOMEZ, ESQ.
                                            SAMUEL KRAMER, ESQ.

         FOR THE DEFENDANT:                 MASON PERTNOY, ESQ.
                                            JUSTIN HENNING, ESQ.
                                            MARK SARNOFF, ESQ.
                                            JAMES MILLER, ESQ.
                                            BEN KUEHNE, ESQ

         FOR CITY OF MIAMI:                 CHRISTOPHER JOHNSON, ESQ.
                                            Gray Robinson




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     1                            P-R-O-C-E-E-D-I-N-G-S

     2               THE COURTROOM DEPUTY:      United States District Court

     3   for the Southern District of Florida is now in session, the

     4   Honorable Lauren Louis presiding.

     5               THE COURT:    Good morning, please be seated.

     6               THE COURTROOM DEPUTY:      Calling case number

     7   18-24190-Civil, Judge Smith, William Fuller, et al., versus Joe

     8   Carollo.

     9               Counsel, would you please note your appearances, for

    10   the record, beginning with the plaintiff.

    11               MS. GOMEZ:    Good morning, Rossana Arteaga-Gomez,

    12   Jeffrey Gutchess, and Samuel Kramer on behalf of Martin Pinilla

    13   and Bill Fuller.

    14               THE COURT:    Thank you, Ms. Gomez.

    15               MR. PERTNOY:    Good morning, Your Honor; Mason

    16   Pertnoy, Justin Henning, Mark Sarnoff, James Miller, and Ben

    17   Kuehne on behalf of Mr. Carollo; and there is an attorney here

    18   for the City, I'll let him make his appearance.

    19               THE COURT:    Good morning, Mr. Johnson.

    20               MR. JOHNSON:    Good morning, Your Honor; Chris Johnson

    21   with Gray Robinson.      I'm here on behalf of the City of Miami.

    22   I did file a notice of appearance solely to make objections to

    23   any potential violation of the City's privilege.

    24               THE COURT:    Okay.   As a preliminary matter,

    25   Mr. Pertnoy, I haven't entered a written order, but I'm

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     1   prepared to deny the motion to dismiss for reasons that we'll

     2   flesh out in the written order.        We just haven't been able to

     3   get it filed.     To the extent it invokes Rule 12 and Rule 56,

     4   they are both inapplicable here to the extent it sought to

     5   avoid the evidentiary hearing.

     6               The hearing was originally set but continued at your

     7   request, it is the preferred method, I think I understand your

     8   position on the absence of factual disputes, that should make

     9   for a narrow hearing, but we are going to have it this morning,

    10   and only this morning.

    11               So know that your time is limited; use it to, I

    12   submit, first give me a short proffer of that which you intend

    13   to prove, as the party carrying the burden, through witness or

    14   documentary evidence so that I can hopefully make fair rulings

    15   on objections when I know what is coming and what you think is

    16   at issue and also so that we are appropriately putting

    17   guardrails on the time that we are spending, okay?

    18               Ms. Gomez, are you making that opening?

    19               MS. GOMEZ:    Sure, Your Honor.

    20               In terms of the amount of time, we do intend to keep

    21   it all very short.      We have three witnesses.      We intend to

    22   begin with Ken Russell, who we think will be about 20 minutes

    23   of testimony; then Mr. De Grandy, who we also think will be

    24   about 20, 30 minutes of testimony; and then end with

    25   Commissioner Carollo.      We don't expect it will be much longer

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     1   than hopefully 30, 45 minutes.

     2               In terms of what we are trying to establish is that

     3   Commissioner Carollo abandoned his residence in Coconut Grove,

     4   in District -- at the time, it was in District 2; that he

     5   abandoned it so that he could run for office, and that he has

     6   never really regained his homestead in that property to date.

     7               And, Your Honor, we could begin; we are prepared to

     8   call our first witness.

     9               MR. PERTNOY:    Your Honor, may I make a brief opening?

    10               THE COURT:    Yes, you may, but I'll tell you, too, if

    11   you prefer, you can also, because, again, know -- I think I

    12   know that your position is that even if everything they say is

    13   true, they are still not entitled to relief.          So if you want to

    14   wait until after they have made their presentation to make your

    15   opening, then you can do it at that time.          It's up to you.

    16               MR. PERTNOY:    I'm going to make a brief opening, but

    17   I think you understand the salient issues, so I'll keep it even

    18   briefer than that.

    19               May I approach the podium?

    20               THE COURT:    Yes, of course.

    21               Please, both of you just be cognizant of the fact

    22   that our court reporter is remote, so she only hears you if you

    23   are on the microphone.      So far, you both have been very

    24   respectful about that, but her camera right now only catches

    25   the podium.

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     1               And, Diane, you will tell us if you want it turned to

     2   the witness, please.

     3               THE COURT REPORTER:      Yes, I will.    Thank you, Judge.

     4               THE COURT:    Do you want us to turn it to the witness?

     5               THE COURT REPORTER:      I prefer to see the attorneys so

     6   I can watch the dynamic.

     7               THE COURT:    Got it, okay.     So the camera right now

     8   has both Mr. Pertnoy and Ms. Gomez on it.

     9               Mr. Pertnoy, obviously, is a little clearer, but just

    10   please, I don't want to have to keep interrupting to say "slow

    11   it down" or "use the microphone," okay?         Just be aware.

    12               Go ahead, Mr. Pertnoy.

    13               MR. PERTNOY:    Thank you, Your Honor.

    14               Obviously, the Court understands that this is an

    15   incredibly important day for Mr. Carollo; but more, just as

    16   important, this is a very important day for every resident of

    17   the State of Florida.

    18               Today, the plaintiffs are seeking to attack one of

    19   the key bedrocks of the Florida constitution, and they are

    20   asking this Court to rewrite, from an affirmed Florida Supreme

    21   Court and Eleventh Circuit case, law and to erode and make --

    22   render meaningless the Florida constitution constitutional

    23   homestead protection.

    24               As this Court is aware, in our papers -- and I'm not

    25   going to belabor it -- that it is very clear in even their own

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     1   case law that -- and their very first case in their response to

     2   our objection -- to our motion for summary judgment was the

     3   In Re:    Bethune case, where that Court, the Eleventh Circuit

     4   said, we reiterate under well-settled Florida law an equitable

     5   lien is available where the property owner seeks a homestead

     6   exemption for property purchased with funds obtained through

     7   fraud.

     8               They -- as you have already indicated, there has been

     9   no counter to any of the evidence that we have supplied in our

    10   motion for summary judgment.       As such, you are going to see

    11   there is going to be no evidence of egregious or fraudulent

    12   conduct, let alone that that egregious or fraudulent conduct

    13   which is -- this is the key part -- traceable or connected to

    14   funds that were used to either invest or purchase Mr. Carollo's

    15   homestead.    Ultimately, they are going to engage in a frolic

    16   and detour and circus maximus to try to have this Court rewrite

    17   the Florida constitution.

    18               With respect to the witnesses that they intend to

    19   call, they have no relevant knowledge as to the salient

    20   question that's before this Court which is, at the end of the

    21   day, in March or April of 2023, before there was even a

    22   judgment let alone a valid lien recorded against Mr. Carollo's

    23   property, had he established a constitutionally-protected

    24   homestead?

    25               THE COURT:    Give that date again.

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     1               MR. PERTNOY:    March, April 2023.

     2               THE COURT:    March or April?

     3               MR. PERTNOY:    March or April, and you will see in

     4   some of the testimony why that's the case; but, regardless,

     5   that is before there was even a jury verdict, and that's before

     6   there was ever a valid lien recorded against the property.

     7               The evidence that was attached to our motion for

     8   summary judgment of Mr. Carollo moving into the property,

     9   living in that property, having electricity, having a DirecTV

    10   account, having water delivered to that property, et cetera, et

    11   cetera, filing taxes with that address, for his -- with the

    12   IRS, every bit of evidence establishes that that was where he

    13   was living with the full intention of living there, and that is

    14   unrebutted.

    15               Under the local rules, when we filed that statement

    16   of undisputed facts, they had an obligation to dispute those

    17   facts and they did not.       They are deemed admitted and the

    18   inquiry should end right there.

    19               But with respect to the witnesses that are being

    20   intended to call over this red herring of redistricting, we

    21   took Mr. Russell's deposition yesterday and he admitted that he

    22   has no personal knowledge as to Mr. Carollo's intentions.            He

    23   has no personal knowledge as to him directing anybody to put

    24   the home in the homestead -- the home into his district.            And

    25   even if it was, it would be irrelevant under the law which they

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     1   are asking you to blatantly ignore.

     2               So we will be objecting to Mr. Russell testifying.

     3   We will be objecting to Mr. De Grandy testifying because they

     4   offer no relevant testimony, no personal knowledge on the only

     5   question that needs to be answered:         Did Mr. Carollo establish

     6   a constitutionally-protected homestead prior to them recording

     7   a valid lien against the property?

     8               The undisputed evidence, all of the evidence, nothing

     9   to the contrary indicates unequivocally yes.          And so that is

    10   what we are going to show, that is what we are going to prove.

    11   But we don't even get there because they never meet their

    12   burden, and so we will be addressing that at a later point in

    13   time in this hearing.

    14               Thank you, Your Honor.

    15               THE COURT:    Thank you.

    16               Ms. Gomez, what is the proffer for De Grandy and

    17   Russell?

    18               MS. GOMEZ:    Your Honor, what Mr. Pertnoy just said

    19   was very important.      It is the egregiousness.      So this Court

    20   gets to consider whether Commissioner Carollo intended to make

    21   that Coconut Grove home his actual home, and he went to great

    22   lengths, egregious lengths to try to protect that home within a

    23   district that had -- it was -- he had to split an entire

    24   community into two to be able to get a sliver of a home.            And

    25   Mr. Russell will be able to testify that, as a sitting

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   1    commissioner in his same shoes had no understanding, could not

   2    appreciate how that map that actually was voted on -- they

   3    called it the "base map," how that map actually furthered the

   4    legitimate redistricting purpose that they were there to engage

   5    in.

   6               THE COURT:    What fact at issue in this hearing does

   7    that make more or less likely to be true?

   8               MS. GOMEZ:    It's whether the egregiousness of the

   9    conduct to be able to try to get a piece of property into his

  10    district so that he can continue serving as commissioner.

  11               THE COURT:    You are not explaining it.      Why would

  12    that have anything to do with whether or not this is homestead?

  13               MS. GOMEZ:    Because, Your Honor, he still is a

  14    sitting commissioner.

  15               THE COURT:    I know.

  16               MS. GOMEZ:    He hasn't resigned.

  17               THE COURT:    Okay.

  18               MS. GOMEZ:    That map has been invalidated.

  19               THE COURT:    I know.

  20               MS. GOMEZ:    And Mr. Russell, the idea that he

  21    voted -- sorry.    There were communications between Commissioner

  22    Carollo and Mr. De Grandy during the redistricting process.           A

  23    map comes out of whole cloth that nobody on that commission

  24    understands why we are splitting the community into two.

  25               THE COURT:    Why doesn't it support Mr. Carollo's

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   1    position.

   2                MS. GOMEZ:   It supports because it tends to show that

   3    there were communications, private communications between

   4    Mr. De Grandy and Commissioner Carollo that were inappropriate,

   5    that were -- the sole purpose of those conversations was to

   6    protect a piece of property and not the legitimate

   7    redistributing purpose that they were there to engage in.

   8                THE COURT:   That's not -- that's the Grace case.

   9    This is about whether or not he moved into the home and

  10    intended to make it his home.      I don't understand why that

  11    proffer doesn't support his claim of exemption.

  12                MS. GOMEZ:   Your Honor, I'm going to defer to

  13    Mr. Gutchess, who is going to be putting on Mr. De Grandy.

  14                THE COURT:   Okay.

  15                MR. GUTCHESS:    Thank you, Your Honor.

  16                I recognize that this Court has familiarity with the

  17    Grace case and with Mr. De Grandy's testimony.         In our briefs,

  18    we have set this forth that the egregious conduct here --

  19                THE COURT:   Sorry, can I ask you to pause just for a

  20    second because I want to have respect for the separateness of

  21    the actions.    Just because I personally am aware of those

  22    transcripts, having presided over the PI, I don't want to deny

  23    either side the opportunity to make a record that they want to

  24    make here.    It is a different case.

  25                MR. GUTCHESS:    Right.

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   1               THE COURT:    So sorry, I didn't mean to be -- to

   2    shortcut anybody, when I say "I know;" make your record.

   3               MR. GUTCHESS:     Right.

   4               THE COURT:    Okay.

   5               MR. GUTCHESS:     And so, Your Honor, what has happened

   6    here is Carollo famously abandoned his homestead and left the

   7    Coconut Grove house --

   8               THE COURT:    Okay.

   9               MR. GUTCHESS:     -- right, in 2017.     There was a court

  10    hearing on that.     He introduced all sorts of evidence about his

  11    intention to abandon that to reside in District 3 in Little

  12    Havana.   He then resided in District 3, for seven or almost

  13    eight years, and then, when the redistricting was up, as it is

  14    every ten years, the first map did not include his home in D3.

  15    And then Mr. De Grandy has testified, both in deposition and at

  16    the trial, that the sole reason that he split Coconut Grove was

  17    to protect Carollo's house, to enable Carollo to move into that

  18    house as it was in District 3, to protect it from this very

  19    lawsuit as an asset protection measure.        And that conduct not

  20    only split up the neighborhood, but that was a large part of

  21    what splitting up the Coconut Grove neighborhood was a large

  22    part of what lead the ACLU to sue that cost the City millions

  23    of dollars in legal fees that resulted in an embarrassing award

  24    order from a federal judge that invalidated the maps.

  25               And so Commissioner Carollo has no right to reside in

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   1    District 2 and continue being a commissioner for District 3.

   2    And so if his intent is to continue being a commissioner for

   3    District 3, he has abandoned his homestead, and that's the

   4    state of the law today, based upon Judge Moore's order, and

   5    that is what this Court needs to hear.

   6               MR. PERTNOY:    Your Honor, may I briefly respond to

   7    this?

   8               THE COURT:    I'm not quite finished asking

   9    Mr. Gutchess my questions.

  10               MR. PERTNOY:    Thank you.

  11               THE COURT:    At the end of the day, we are going to

  12    make use of this time, meaning you are both going to have

  13    opportunities to file objections.       So the evidence that the

  14    parties want to put on which we are doing today so -- and then

  15    you can object to Judge Smith about whether or not it was --

  16    all should have come in, but I have to move this forward to

  17    Judge Smith, so; at the same time, I am concerned about the

  18    confusion of issues that I think are being presented in the

  19    Plaintiffs' objection.

  20               On one hand, I think I hear the arguments to be

  21    twofold -- and please tell me if I'm wrong -- that he abandoned

  22    the Coconut Grove home, never intended to return there; that

  23    would be, I think, relevant to the claim of exemption and your

  24    objection.

  25               That he fraudulently caused the City to carve out his

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   1    home for the purpose of defrauding creditors as opposed to

   2    being able to return there, what is the best case that you can

   3    advance to me that even if he had that ill will in his heart

   4    that he -- if he has done the steps that he needs to do in

   5    order to reside there, whether or not it was for the purpose of

   6    protecting homestead, that your objection stands?

   7               MR. PERTNOY:    So, Your Honor, the Florida Supreme

   8    Court and the Eleventh Circuit both say fraudulent conduct or

   9    other egregious conduct related to seeking the homestead

  10    protection.    The other egregious conduct hasn't been as fully

  11    explored by the courts, and our position is that if there is

  12    ever any egregious conduct, it is abusing one's power in the

  13    City and manipulating the City voting maps solely for asset

  14    protection purposes which is what Mr. De Grandy testified to.

  15    And then, when he has a personal financial interest in this map

  16    where he represents that he is not going to vote on it because

  17    he has a personal financial interest, changing that and voting

  18    against the state ethics laws, being the deciding vote to pass

  19    that map, that, Your Honor, is egregious conduct that the

  20    Eleventh Circuit or the Florida Supreme Court, whoever decides

  21    this at the end of the day, needs to hear and weigh upon.           And

  22    we believe they will rule in our favor, that Mr. Carollo cannot

  23    protect his home under these circumstances.

  24               THE COURT:    Can you direct me to what you think your

  25    best cases on that are?

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   1               MR. GUTCHESS:     Your Honor, we have submitted document

   2    entry DE 658 that sets forth all of the case law on this issue.

   3               And then on Page 13 of that brief, Your Honor, we set

   4    forth the series of cases that all go into the -- all the

   5    various ways that homestead can be challenged.

   6               THE COURT:    True.

   7               MR. GUTCHESS:     So in a divorce setting, if a husband

   8    engages in an egregious pattern of conduct aimed at depriving

   9    the ex-wife, the ex-wife is able to attack the homestead.           So

  10    that would be a circumstance in which, you know, it is not a

  11    fraud.   You steal money from one person, you use that money to

  12    buy your house, that obviously invalidates the homestead; but,

  13    if you are also trying to avoid paying alimony to your

  14    ex-spouse, that can also void the homestead.

  15               Your Honor, what we are saying here is that what

  16    Mr. Carollo did is worse than either circumstance, right?

  17    Stealing money from one person and using it to buy a house to

  18    protect the money is bad.      But what Mr. Carollo did here in

  19    terms of manipulating the Miami's voting maps for the sole

  20    purpose of asset protection, right, in making these maps that

  21    were invalid and unconstitutional and then trying to move back

  22    in after the trial had started and the verdict is imminent

  23    after which the maps are invalidated.        So they were never

  24    valid, Your Honor, and he is still residing there and not

  25    moving back into District 3.

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   1               If Mr. Carollo follows the law, he will move back

   2    into Little Havana and abandon this homestead, and we have a

   3    right to question him about that.

   4               THE COURT:    Okay.   My questions arose with respect to

   5    Russell in particular.     I think I have an idea of where you

   6    would go with Mr. Carollo himself.

   7               What are the salient dates, Mr. Gutchess, you want me

   8    to focus on?

   9               MR. GUTCHESS:     I mean, our testimony today is going

  10    to span from 2017, when he abandoned the home, through the

  11    trial which is 2023, which is April and May of 2023, up to this

  12    very day when Judge Moore has invalidated the map and the City

  13    has agreed to a new map that does not include Mr. Carollo's

  14    home.

  15               I don't know if you watched the city commission

  16    meeting last week, but after the map had been agreed upon and

  17    basically settled, Mr. Carollo was able to defer that for two

  18    weeks so he could come to this hearing and not have those new

  19    maps without his home in it.      So he continues to manipulate the

  20    process, Your Honor, and manipulate the City laws for his own

  21    personal benefit.     So the time frame we will cover today is

  22    2017 to this very day.

  23               THE COURT:    Okay.

  24               MR. GUTCHESS:     We will be done by lunch, Your Honor,

  25    we have 20 minutes, 25 minutes each.

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   1               MR. PERTNOY:    Can I briefly respond to Mr. Gutchess?

   2    I will be very brief.

   3               THE COURT:    You said that last time, so really brief,

   4    Mr. Pertnoy, okay?

   5               MR. PERTNOY:    Yes, Your Honor.

   6               The short answer is, they don't have a case that

   7    supports their position.      They are asking you to rewrite the

   8    law.   The cases that cover this are that Florida Supreme Court

   9    Havoco opinion, which was a certified question from the

  10    Eleventh Circuit which was then adopted by the Eleventh Circuit

  11    which says, "We have invoked equitable principles to reach

  12    beyond the literal language of the exceptions only where funds

  13    obtained through fraud or egregious conduct were used to invest

  14    in, purchase, or improve the homestead."

  15               No funds, no investment, no purchase, the case law is

  16    clear.   The Eleventh Circuit, the FTC case which we cite, "To

  17    obtain an equitable lien on Florida homestead, a plaintiff must

  18    show, by a preponderance of the evidence, that the defendant

  19    engaged in fraudulent or egregious conduct and that the funds

  20    from that conduct can be directly traced to the purchase of,

  21    investment in, or improvement of the homestead."

  22               No cases, the case law is clear.       And this entire red

  23    herring on redistricting, this is about whether he can sit as

  24    an elected official, whether he is in or out, but he did not

  25    give up his rights as a citizen of Florida, and as a citizen of

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   1    Florida, he could have established a homestead in Key West,

   2    Jacksonville, or Morris Lane.       He can do that.    Whether he can

   3    then serve as an elected official, that's not the purpose of

   4    today, and all they want to do is confuse that issue.

   5               But the bottom line is, as a citizen of Florida, he

   6    has the constitutional homestead protection which allows him to

   7    establish a homestead, period, end of the day.         That's what

   8    matters.   And again, Mr. Russell's testimony which is, again,

   9    we don't believe relevant, he himself confirmed that

  10    Commissioner Carollo did not engage in this conduct; that he

  11    himself did not express a motive to do this; and, more

  12    importantly, he directed nobody to do this.

  13               And, in fact, Mr. Russell's testimony when asked,

  14    "How did this happen?"     "It magically appeared, it magically

  15    appeared," not that Mr. Carollo did it, that it "magically

  16    appeared."    According to Mr. Russell, Harry Potter had a more

  17    likely affect on that map than Mr. Carollo.         That's what the

  18    evidence is going to show.

  19               THE COURT:    On that note, are either of you invoking

  20    the rule of sequestration?       Are the witnesses in the courtroom?

  21               MR. GUTCHESS:     They are in the courtroom.

  22               THE COURT:    Mr. Pertnoy, do you want to invoke the

  23    rule?

  24               MR. PERTNOY:    We are fine.

  25               THE COURT:    Okay.

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   1               MS. GOMEZ:    Should we call our first witness?

   2               THE COURT:    Please.

   3               MR. KRAMER:    Your Honor, we would like to call

   4    Mr. Ken Russell.     He has personal knowledge as -- we would like

   5    to call Ken Russell.

   6               MR. PERTNOY:    Your Honor, I renew my objection as to

   7    relevance and the like.

   8               THE COURT:    I understand, Mr. Pertnoy.      Your

   9    objection is noted, I'll -- I assume, Mr. Pertnoy, that you

  10    object to him in total as an irrelevant witness and that is

  11    without prejudice.     Do you have any question-specific

  12    objections?

  13               MR. PERTNOY:    Understood.

  14               THE COURT:    Okay.

  15               THE COURTROOM DEPUTY:      Sir, please raise your right

  16    hand.

  17                   KEN RUSSELL, PLAINTIFF WITNESS, SWORN

  18               THE COURTROOM DEPUTY:      Thank you, sir.    Please be

  19    seated, speak into the microphone; state your name, and spell

  20    your last name for the record.

  21               THE WITNESS:    Good morning, Ken Russell, K-E-N,

  22    R-U-S-S-E-L-L.

  23                              DIRECT EXAMINATION

  24    BY MR. KRAMER:

  25    Q    Good morning.    Please introduce yourself again.

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   1                THE COURT:    Mr. Kramer, you are already not using a

   2    microphone, sir.     You have to just --

   3                MR. KRAMER:    Apologies.

   4                THE COURT:    Well, it is the court reporter.      If you

   5    want to be on the transcript, you have to use the microphone.

   6    BY MR. KRAMER:

   7    Q    Good morning.    Please introduce yourself again.

   8    A    Ken Russell, former City of Miami Commissioner.

   9    Q    Mr. Russell, when did you serve as a commissioner?

  10    A    I served from 2015 to the end of '22.

  11    Q    For which district?

  12    A    District 2, Coconut Grove, Brickell, Miami, downtown,

  13    Edgewater, Northside area.

  14    Q    Were you involved in the 2021-2022 redistricting?

  15    A    Yes.   I was one of the five commissioners who voted on it.

  16    Q    During that process, did you ever meet with Mr. Miguel

  17    De Grandy?

  18    A    Yes.   He was brought on as the consultant who would help us

  19    navigate the whole process.

  20    Q    What was Mr. De Grandy's role in the redistricting process?

  21    A    He was hired by the City, having been involved in previous

  22    redistricting efforts of the City of Miami, to help prepare

  23    maps on which the commissioners could vote.

  24    Q    Is Mr. De Grandy a lawyer?

  25    A    Yes, he is.

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   1    Q    Was it part of Mr. De Grandy's role as a consultant to give

   2    legal advice?

   3    A    No.

   4    Q    Let's move on and talk about districts and redistricting.

   5               What are voting districts?

   6    A    So the City of Miami is divided up into five districts

   7    which are meant to be equalized by population, or just about

   8    450,000 residents, so you split that into five.

   9    Q    What is the purpose of redistricting?

  10    A    So when the census happens every ten years, one district

  11    may get imbalanced, get a higher population than the others,

  12    and it needs to be normalized; and so, in this case, District 2

  13    had grown, downtown and Brickell areas, and so the

  14    redistricting process was necessary to re-equalize the

  15    populations amongst the districts.

  16    Q    What factors are to be considered in redistricting?

  17    A    So there are legal factors and then there is policy

  18    factors.   From a legal perspective, we need to honor the

  19    constitution and the Voting Rights Act, and then the

  20    commissioners gave direction to Mr. De Grandy on policy

  21    concepts around keeping cohesive neighborhoods together,

  22    avoiding voter confusion, following natural and manmade

  23    boundaries, and things like that, and, of course, normalizing

  24    population.

  25    Q    What natural and manmade boundaries define Coconut Grove?

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   1               THE COURT:    Mr. Kramer, I'm going to put a tighter

   2    time limit on you, if we are going down this path.

   3               MR. KRAMER:    I'll keep that in mind, Your Honor.

   4               THE COURT:    Okay.

   5               THE WITNESS:    Coconut Grove is founded by US 1 on the

   6    west and north, and Biscayne Bay on the east and south.

   7    BY MR. KRAMER:

   8    Q    Has the Grove always been a single district?

   9    A    Yes, ever since we have had single number districts.

  10    Before that, was it was at-large.

  11    Q    Is it beneficial for residents to keep Coconut Grove as a

  12    single district?

  13    A    So it is governed by the neighborhood conservation

  14    districts, as well as a Coconut Grove Village Council.          They

  15    have like-minded interests.      Yes, the answer is yes.

  16    Q    Why did they benefit?

  17               THE COURT:    Okay, move on.

  18    BY MR. KRAMER:

  19    Q    When was the first time that the Grove was under threat of

  20    division as a single district?

  21    A    In this redistricting process on February 24th.

  22    Q    What was the public's response?

  23    A    Sorry, no, the first map, the preliminary map that came out

  24    from Mr. De Grandy without commissioner input was on February

  25    7th, and that already divided the Grove into three.

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   1    Q    What was the public's response to dividing the Grove?

   2    A    Hundreds came out to City Hall --

   3               MR. PERTNOY:    Objection.

   4               THE COURT:    Sustained.

   5    BY MR. KRAMER:

   6    Q    Other than the Grove, how were other communities

   7    complaining about redistricting?

   8               MR. PERTNOY:    Objection.

   9               THE COURT:    Sustained.

  10    BY MR. KRAMER:

  11    Q    What was your understanding of the commissioners' role in

  12    providing feedback to De Grandy?

  13               MR. PERTNOY:    Objection.

  14               THE COURT:    Basis?

  15               MR. PERTNOY:    He can -- it is speculation as to he is

  16    not here as an expert on behalf of all commissioners.          He can

  17    talk about his own personal experience; but for him to opine as

  18    to the role of the commission, he is not here as an expert.

  19               THE COURT:    I'll sustain it on competence.

  20    BY MR. KRAMER:

  21    Q    From your personal knowledge, what was the role of De

  22    Grandy's redistrict -- what was your role in De Grandy's

  23    redistricting?

  24    A    My role was to give input to Mr. De Grandy on what I felt

  25    the fairest and best maps that met all of the criteria were,

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   1    and he would work together with the other commissioners to come

   2    up with a consensus map.

   3    Q    Okay.    Mr. Russell, I'm going to show you what has been

   4    premarked as Plaintiffs' Exhibit 23 for identification.

   5                 MR. KRAMER:    Your Honor, may I approach the witness?

   6                 THE COURT:    Yes.    You have given a copy to Defense

   7    Counsel?

   8                 MR. KRAMER:    We have --

   9                 MR. PERTNOY:    And I object to the document.

  10                 THE COURT:    Wait, did you exchange exhibits before

  11    the hearing?

  12                 MR. KRAMER:    Yeah.    They provided me with these, and

  13    I advised that I objected to the use of the maps.

  14                 THE COURT:    Okay.    Okay.   We are not there yet.

  15                 When he advances it as an exhibit, I'll hear your

  16    objection.

  17                 MR. PERTNOY:    Understood.

  18    BY MR. KRAMER:

  19    Q    Mr. Russell, do you recognize this map?

  20    A    Yes.

  21    Q    What map is it?

  22    A    This was the preliminary map, as it was called, created

  23    on -- given to us on February 7th commission meeting by

  24    Mr. De Grandy before getting input from commissioners.

  25    Q    Is it an accurate portrayal of the preliminary map?

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   1                MR. PERTNOY:    Objection.

   2                THE WITNESS:    He didn't draw the map, he doesn't have

   3    the personal knowledge to determine whether that's the accurate

   4    map, only Mr. De Grandy who drew the map can do that.

   5                THE COURT:    Overruled.

   6                THE WITNESS:    I recognize this as the map and I know

   7    the lines of our districts.

   8                MR. KRAMER:    Your Honor, I move to admit Plaintiffs'

   9    Exhibit 23 into evidence.

  10                MR. PERTNOY:    I object on the basis of relevance.

  11                MR. KRAMER:    Your Honor, this is relevant because

  12    this was the first proposed map as to the districts which does

  13    not include Mr. Carollo's house.

  14                THE COURT:    Is there any dispute at all from anybody

  15    that the preliminary map didn't include Mr. Carollo's Coconut

  16    Grove house?

  17                THE WITNESS:    I'm not familiar with the maps, but I

  18    don't --

  19                THE COURT:    Well, then we do have to go down this

  20    path.   Overruled.

  21    BY MR. KRAMER:

  22    Q    Mr. Russell, what district is Mr. Carollo's house in, on

  23    this map?

  24                MR. PERTNOY:    Objection.

  25                THE COURT:    I didn't hear the question.

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   1    BY MR. KRAMER:

   2    Q    Mr. Russell, what district is Mr. Carollo's house in, on

   3    this map?

   4    A    District 2.

   5                MR. PERTNOY:    I object to the question.

   6                THE COURT:    Overruled.    If it is not an issue,

   7    Mr. Pertnoy, then I am going to let him go down.

   8                MR. PERTNOY:    Mr. Russell hasn't even been proffered

   9    that he knows where Commissioner Carollo's house is.

  10                THE COURT:    Mr. Kramer.

  11    BY MR. KRAMER:

  12    Q    Mr. Russell, I'm going to show you what has been premarked

  13    as Plaintiffs' Exhibit 24.

  14                Mr. Russell, do you recognize this map?

  15    A    Yes.

  16    Q    What map is it?

  17    A    This is what we call the base map which was presented on

  18    February 25th, which was the second substantive meeting with

  19    maps involved after commissioners had input.

  20                MR. KRAMER:    Your Honor, I move to admit Plaintiffs'

  21    Exhibit 24.

  22                MR. PERTNOY:    Objection, relevance.

  23                THE COURT:    Do you continue to dispute that

  24    Mr. Carollo's house was, at one point, not in District 2 and

  25    then was drawn into District 2?

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   1               MR. PERTNOY:    I don't dispute that, but I don't

   2    believe that whether -- where the district lines are has any

   3    relevance to the establishment of constitutionally-protected

   4    homestead.

   5               THE COURT:    I get it, Mr. Pertnoy, but you either

   6    think these facts are not in dispute or you do so...

   7               MR. PERTNOY:    I don't dispute that the map shows his

   8    home in that new part of District 2, but what I dispute is its

   9    relevance in determining whether that's his constitutional

  10    homestead which is what we are here for.

  11               THE COURT:    Okay, and I'm going to overrule the

  12    objection.

  13    BY MR. KRAMER:

  14    Q    Mr. Russell, what district does this map place

  15    Mr. Carollo's house in?

  16    A    It puts it into District 3.

  17    Q    Did dividing the Grove --

  18               THE COURT:    Sorry, I had said two, I meant three.

  19               Sorry, go ahead.

  20    BY MR. KRAMER:

  21    Q    Did dividing the Grove to place Carollo's house into

  22    District 3 further a legitimate purpose of redistricting?

  23               MR. PERTNOY:    Objection, Your Honor.

  24               It's his opinion.

  25               THE COURT:    Well, I mean, the problem is it's -- you

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   1    can try a different question.

   2               MR. KRAMER:    I'll rephrase, Your Honor.

   3               THE COURT:    It's -- I'm going to sustain that

   4    objection.

   5    BY MR. KRAMER:

   6    Q    Mr. Russell, as a commissioner, what legitimate purpose

   7    were you aware of that placing Carollo's house into District 3

   8    furthered?

   9               MR. PERTNOY:    Objection, again, this is asking his

  10    opinion.

  11               MR. MILLER:    I would like to assert an objection, as

  12    well, Your Honor, on behalf of the City of Miami.         We are

  13    raising the legislative privilege with regard to all

  14    legislative process in coming up with the map that was done in

  15    private.   I mean, all throughout the meetings, obviously, can

  16    be talked about; but in terms of private legislative

  17    discussions, deliberations, and whatnot, the City is invoking

  18    legislative privilege.

  19               THE COURT:    I understand the City's presence to do so

  20    but disagree that that question intrudes on the privilege.

  21               Mr. Russell, you are aware of and you understand

  22    legislative privilege, right?

  23               THE WITNESS:    Yes.

  24               THE COURT:    And you understand Mr. Johnson's

  25    objection on behalf of the City?

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   1               THE WITNESS:    Yes.

   2               THE COURT:    Can you answer that question without

   3    intruding on the privilege?

   4               THE WITNESS:    Yes.

   5               THE COURT:    Keep it to a yes or no.

   6               Do you want to hear the question again?        Mr. Kramer?

   7               THE WITNESS:    Yes, please.

   8    BY MR. KRAMER:

   9    Q    Mr. Russell, as a commissioner, what legitimate purpose --

  10               THE COURT:    That was not the question you asked.

  11    BY MR. KRAMER:

  12    Q    As a commissioner, in your opinion --

  13               THE COURT:    No, that still wasn't it.

  14               Are you aware of a legitimate purpose that was

  15    advanced by the redrawing?

  16               MR. PERTNOY:    Same objection.

  17               THE COURT:    If you can answer that question without

  18    intruding on the legislative privilege, that's the one I'll

  19    allow.

  20               THE WITNESS:    There was no legitimate purpose.

  21    BY MR. KRAMER:

  22    Q    Who benefited from Morris Lane in Coconut Grove joining

  23    District 3?

  24               MR. PERTNOY:    Objection, calls for speculation, and

  25    it would be his opinion as to who it benefited.

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   1               THE COURT:    Sustained.

   2    BY MR. KRAMER:

   3    Q    As a commissioner representing District 2, who benefited

   4    from the area in Coconut Grove joining District 3?

   5               MR. PERTNOY:    Again, same objection, it's calling for

   6    his opinion and it is speculation.

   7               THE COURT:    It is more speculative than anything

   8    else, sustained.

   9    BY MR. KRAMER:

  10    Q    Okay, let's talk about the concerns you personally raised

  11    regarding the votes to enact the map.

  12               THE COURT:    To whom?

  13               MR. KRAMER:    So Mr. Russell raised concerns to both

  14    Mr. Carollo and the City Attorney, Victoria Mendez, publicly on

  15    the dais, Your Honor.

  16               THE COURT:    Okay.   You are aware of the City's

  17    presence here to protect the privilege that does not belong to

  18    Mr. Russell alone.

  19               MR. KRAMER:    Yes, Your Honor.

  20               THE COURT:    So I'm having trouble figuring out what

  21    questions you are going to ask that will fairly be elicited

  22    through this witness.

  23               MR. KRAMER:    Yes, Your Honor.

  24               THE COURT:    Keep them focused.

  25               MR. KRAMER:    I will, Your Honor.

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   1    BY MR. KRAMER:

   2    Q    Mr. Russell, were you on the dais on March 11, 2022?

   3    A    Yes.

   4    Q    At this public commission meeting, who did you speak with?

   5    A    At the March 11th meeting, who did I speak with on the

   6    dais?

   7    Q    Yes, sir.

   8    A    It was a long meeting, all day.

   9    Q    At this commission meeting, did you discuss with --

  10    anything with the city attorney, Victoria Mendez?

  11    A    Yes, I'm sure.

  12    Q    Mr. Russell, I'm going to show you what has been premarked

  13    as Plaintiffs' Exhibit 16, for identification.         I believe it is

  14    a video.

  15                THE COURT:    What are we doing?

  16                MR. KRAMER:    We are going to put on a very quick

  17    video, Your Honor. showing the commission meeting and what

  18    conversations.

  19                I promise I'm also done, Your Honor.

  20                THE COURT:    You can't proffer what it says?

  21                MR. KRAMER:    Okay.   We are going to play Plaintiffs'

  22    Exhibit --

  23                THE COURT:    You're not publishing anything that's not

  24    in evidence.     So do you want to proffer what it is, so I can

  25    hear Mr. Pertnoy's objection?

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   1               MR. KRAMER:    Yes, Your Honor.     It is victoria Mendez

   2    agreeing with Mr. Russell that there are ethical considerations

   3    on Carollo voting on whether or not the map should be approved.

   4               THE COURT:    Okay.   Again, is it disputed that that

   5    occurred in the public commission meeting?

   6               MR. PERTNOY:    If it was said in the public record, it

   7    was said in the public record.       I don't dispute what was said

   8    in the public record.     I object on the basis of relevance.

   9               THE COURT:    Do you have a transcript of it?

  10               MR. KRAMER:    We do not, Your Honor.      I do not believe

  11    we have transcripts.

  12               THE COURT:    Okay.

  13               Well, after the hearing, anything that is admitted,

  14    you have to file under our local rule.        So rather than

  15    conventionally filing a video, I think that it will make it

  16    easier for the reviewing court if you just capture the portion

  17    of the meeting from a transcript, which is publicly available,

  18    and rely on that.

  19               Is anyone in a position to proffer what words were

  20    said, so that Mr. Pertnoy can hear it or do we have to play it?

  21               MR. KRAMER:    It is -- the video itself is 20 seconds,

  22    and I think that the video does a better job than I could do

  23    showing it.

  24               THE COURT:    The proffer is that Ms. Mendez agreed

  25    there was an ethical concern with Mr. Carollo voting on the

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   1    map?

   2               MR. KRAMER:    Yes, Your Honor.

   3               THE COURT:    For the purposes of establishing what,

   4    that he voted on the map anyway?

   5               MR. KRAMER:    That he was aware, at the time, that

   6    there was an ethical concern that he should not be able to vote

   7    on a map which would give him a personal benefit.

   8               THE COURT:    Okay.   Mr. Pertnoy, you object on

   9    relevance.

  10               MR. PERTNOY:    Yes, Your Honor.

  11               THE COURT:    Okay, I'm going to see the 20-minute

  12    (sic) clip over your objection, which I note.

  13               MR. PERTNOY:    I thought they said it was 20 seconds,

  14    I hope 20 seconds.

  15               THE COURT:    What did I say?

  16               MR. KRAMER:    Twenty minutes.

  17               MR. PERTNOY:    I was hoping it was 20 seconds.

  18               THE COURT:    Twenty seconds.

  19         (Video recording played in open court)

  20               MR. PERTNOY:    Judge, Your Honor, I'm going to object,

  21    A, on relevance, but more importantly, on the rule of

  22    completeness.    I mean, there was clearly a conversation that

  23    preceded that and that was subsequent to that, and so this --

  24    there was no context of evidence whatsoever.

  25               THE COURT:    Do you mean the conversation that she

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   1    said she will have with him?

   2                 MR. PERTNOY:    No, I'm referring to the clip that they

   3    showed.     There was clearly conversation that occurred

   4    preceding, and there was conversation that would have continued

   5    on that which we don't know what it says because they are

   6    showing you a 20-second clip, and it is all hearsay.

   7                 THE COURT:    Okay.   If you want to advance any more of

   8    the commission meeting in your presentation, you can.

   9                 MR. KRAMER:    Very well, Your Honor.    Thank you.

  10    BY MR. KRAMER:

  11    Q    What did that video portray?

  12    A    I was asking -- I'm sorry, I was asking the City Attorney

  13    about whether or not Joe Carollo could vote when his house was

  14    in question and would be affected financially by the change of

  15    lines.

  16    Q    Does it accurately depict the discussion that took place

  17    that day?

  18    A    Yes.

  19                 MR. KRAMER:    Your Honor, I move what has been

  20    premarked as Plaintiffs' Exhibit 16 into evidence.

  21                 MR. PERTNOY:    I preserve my objections, Your Honor.

  22                 THE COURT:    You do.   And as I have indicated, I want

  23    you to attach a transcript, whether or not you attach the

  24    video.

  25                 MR. KRAMER:    Yes, Your Honor.

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   1    BY MR. KRAMER:

   2    Q    Now, what was Ms. Mendez saying "correct" to, in that

   3    video?

   4               MR. PERTNOY:    Objection.

   5               THE COURT:    Well, in all candor, I couldn't make it

   6    out well, so I'm going to hear it one more time, Mr. Pertnoy;

   7    I'm sorry.

   8               MR. PERTNOY:    I understand that, but he is asking --

   9    that's fine, I made my objection; fair enough.

  10               THE WITNESS:    I was stating to the City Attorney my

  11    understanding from my briefing from her previous -- in my

  12    office that --

  13               MR. PERTNOY:    Objection.

  14               THE COURT:    Limit your response, Mr. Russell, to what

  15    you actually said in the video that was just played.

  16               THE WITNESS:    She was saying yes, to my

  17    understanding, that it's his decision to recuse himself.          If I

  18    understand correctly, the piece that we just showed, that was

  19    where I was asking is it his decision or is it imposed upon him

  20    to recuse himself.

  21    BY MR. KRAMER:

  22    Q    Do you recognize the voice saying, "No, that is not true"?

  23    A    Oh, I believe that was Commissioner Diaz de la Portilla.

  24    Q    What conversations did you have with Carollo on the dais

  25    about whether he should vote?

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   1    A    We had arguments about houses and who lived in houses

   2    where.

   3    Q    Mr. Russell, I'm going to show you what has been premarked

   4    as Plaintiffs' Exhibit 10 for identification.

   5               MR. KRAMER:    It is a video, Your Honor, showing that

   6    Mr. Carollo stated he would abstain from voting on the map.

   7               THE COURT:    I don't honestly need that one published;

   8    but I mean, for purposes of the hearing, I'm aware of it, but,

   9    Mr. Pertnoy --

  10               MR. PERTNOY:    Again, I object on relevance, rule of

  11    completeness, and I'll leave it at that.

  12               MR. KRAMER:    We can move on, Your Honor.

  13    BY MR. KRAMER:

  14    Q    Mr. Russell, what did Carollo state he would abstain to?

  15               MR. PERTNOY:    Objection.

  16               THE COURT:    Wait, I didn't hear the question.

  17    BY MR. KRAMER:

  18    Q    Mr. Russell, what did Carollo state he would abstain to?

  19               MR. PERTNOY:    Objection.

  20               THE COURT:    Overruled.

  21               THE WITNESS:    He stated that he would not be voting

  22    on the issue of redistricting because of his house.

  23    BY MR. KRAMER:

  24    Q    And did Carollo abstain?

  25    A    He did at first.    For the March 11th meeting, he abstained.

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   1    Q    And what about the March 25th meeting?

   2    A    He decided to come back in and vote.

   3    Q    Why did you feel compelled to raise that ethical concern of

   4    Carollo voting?

   5               MR. PERTNOY:    Objection.

   6               THE COURT:    Sustained.

   7    BY MR. KRAMER:

   8    Q    Mr. Russell, are there laws and rules governing public

   9    officials on personal benefits?

  10               MR. PERTNOY:    Objection.

  11               THE COURT:    Sustained.

  12    BY MR. KRAMER:

  13    Q    Mr. Russell, from your personal knowledge as when you were

  14    a commissioner, were you governed by rules and ethics on

  15    whether or not you were entitled to receive a personal benefit?

  16               MR. PERTNOY:    Objection.

  17               THE COURT:    This is a relevance objection,

  18    Mr. Kramer, as I best understand, and am sustaining it.

  19               MR. KRAMER:    Your Honor, it is relevant because

  20    whether or not Carollo was entitled to vote on whether his

  21    house would be moved into District 3 would be barred by these

  22    ethical laws and rules that Mr. Russell raised -- or raised

  23    concern with.

  24               THE COURT:    I understand.    There is no testimony that

  25    I need from Mr. Russell that there are laws or ethical rules

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   1    that you want me to take judicial notice of.         Let's do it

   2    outside of witness testimony, okay?

   3               MR. KRAMER:    Yes, Your Honor.

   4               THE COURT:    They either are or are not in place and

   5    you guys can advance them, not from testimony.

   6    BY MR. KRAMER:

   7    Q    Mr. Russell, how did Carollo's vote affect the passing of

   8    the map?

   9               MR. PERTNOY:    Objection.

  10               THE COURT:    Overruled.

  11               THE WITNESS:    He was the swing vote that allowed it

  12    to pass.

  13    BY MR. KRAMER:

  14    Q    Mr. Russell, what effect has this map had on the City?

  15               MR. PERTNOY:    Objection, he can't speak on behalf of

  16    the effect of the City.

  17               THE COURT:    Mr. Kramer, if you are asking a more

  18    specific question, but that one is not going to do it.

  19    BY MR. KRAMER:

  20    Q    Mr. Russell, was there a lawsuit incurred because of this

  21    map?

  22               MR. PERTNOY:    Objection, Your Honor.

  23               THE COURT:    Mr. Kramer --

  24               MR. PERTNOY:    We are not here to litigate the Grace

  25    case.

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   1                THE COURT:    Where are we heading, Mr. Kramer?

   2                MR. KRAMER:    I have no further questions, Your Honor.

   3                THE COURT:    Okay, thank you.

   4                Same time limits, Mr. Pertnoy.

   5                MR. PERTNOY:    Understood, Your Honor.

   6                               CROSS-EXAMINATION

   7    BY MR. PERTNOY:

   8    Q    Good morning, Mr. Russell.      How are you?

   9    A    Good morning.

  10    Q    You recall that yesterday I took your deposition.

  11    A    Yes.

  12    Q    And at that deposition yesterday, you answered truthfully,

  13    correct?

  14    A    Yes.

  15                THE COURT:    Mr. Pertnoy, even though you have a time

  16    limit, you still have a court reporter and you talk fast like

  17    me, be nice --

  18                MR. PERTNOY:    Yes, Your Honor.

  19                THE COURT:    -- for the court reporter.

  20                MR. PERTNOY:    No problem.

  21    BY MR. PERTNOY:

  22    Q    So yesterday when I asked you conversations you had with

  23    Mr. Carollo, you advised that the only conversations you have

  24    ever had with Mr. Carollo were on the dais, correct?

  25    A    Of substantive city issues, yes.

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   1    Q    Including issues concerning his Morris Lane property,

   2    correct?

   3    A    Correct.

   4    Q    And yesterday, I asked you if you had any personal

   5    knowledge of Mr. Carollo's intentions or motivations with

   6    respect to his Morris Lane property or establishing homestead,

   7    and you said you didn't have any of that knowledge, correct?

   8    A    No personal knowledge.

   9    Q    And when I asked you about the Morris Lane property itself,

  10    you didn't know when he purchased it, correct?

  11    A    Correct.

  12    Q    You didn't know whether he had moved into it or when he

  13    moved out of it, correct?

  14    A    Correct.

  15    Q    You don't know when -- how he used that property, correct?

  16    A    Correct.

  17    Q    You don't know whether he was renting the property or not

  18    renting the property, correct?

  19    A    Correct.

  20    Q    And then I also asked you whether you had ever had any

  21    conversations with somebody who told you what Commissioner

  22    Carollo's intentions were with respect to his homestead, and

  23    you told me you didn't recall any conversations of that effect,

  24    correct?

  25    A    I'm sorry, with whom?     Could you ask again?

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   1    Q    I asked you, have you ever had any conversations with

   2    somebody who told you this is Carollo's intention with respect

   3    to his homestead, and you said that you didn't recall any

   4    conversations of that effect.

   5    A    There have been --

   6               MR. JOHNSON:    I'm going to object to the extent this

   7    question is going to call for an invasion of the legislative

   8    privilege or the attorney-client privilege.

   9               THE COURT:    Again, Mr. Russell, can you answer the

  10    question without invading legislative privilege or --

  11               I can't guess what attorney-client privilege is at

  12    issue here, though, Mr. Johnson.

  13               MR. JOHNSON:    The conversations that he would have

  14    had with Victoria Mendez as the city attorney, or with

  15    Mr. De Grandy who is an attorney and was giving advice as to

  16    the legal effect of the redistricting.

  17               THE WITNESS:    My sitting staff and I discussed a lot

  18    about how his house was being protected in this process.

  19               MR. PERTNOY:    Understood.

  20               THE COURT:    One at a time, Mr. Johnson is on his

  21    feet.

  22               MR. JOHNSON:    I'm still objecting to any internal

  23    discussions of the legislative deliberative process.

  24               MR. PERTNOY:    I'll move on, Your Honor --

  25               THE COURT:    Okay.

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   1                 MR. PERTNOY:   -- just to make life easier.

   2    BY MR. PERTNOY:

   3    Q    And, again, I had asked you at your deposition, "You have

   4    no personal knowledge again with respect to Mr. Carollo's

   5    intentions with respect to establishing a homestead," and you

   6    said that you did not have any of that knowledge, correct?

   7    A    My understanding of what personal knowledge is, no, I did

   8    not.

   9    Q    Okay.    And I also asked you about conversations you had on

  10    the dais with Commissioner Carollo, and one of the items that

  11    you recall was that -- and I'm going to read it to make sure I

  12    get it correct.     You remember him saying he didn't care if his

  13    home was taken out of the new map and placed into District 2,

  14    correct?

  15    A    Yes.    I then made a motion to then --

  16                 MR. PERTNOY:   No question pending.

  17                 THE COURT:   I'm sorry, I thought you just asked a

  18    question.

  19                 MR. PERTNOY:   I answered (sic) and he said "correct,"

  20    there was no question pending.

  21                 THE COURT:   I thought it was your "correct."      You

  22    only respond to questions, Mr. Russell.

  23    BY MR. PERTNOY:

  24    Q    And, in fact, I asked you whether you recall him ever on

  25    the dais directing anybody to put his home into the district,

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   1    and you said you did not recall that, correct?

   2    A    Correct.

   3    Q    And then you were discussing -- I asked you about the

   4    discussions you had with your staff, do you remember us talking

   5    about discussions you had with your staff?

   6    A    Yes.

   7    Q    And you said, "We all discussed it, and we had pretty much

   8    a consensus that the redistricting effort was protecting his

   9    home."   Do you remember you said that?

  10    A    Yes.

  11    Q    And then I asked you, "And that was what you believed to be

  12    his intention," and you said, "Yes," correct?

  13    A    Yes.

  14    Q    And then I asked you again, "But not that you have any

  15    evidence that was his intentions," and you responded, "Our

  16    evidence was the inclusion of his home made no logical sense in

  17    the evolution of the maps."

  18                Do you remember that?

  19    A    Yes.

  20    Q    And then I said, "That is not evidence;" and you said,

  21    "No," correct --

  22    A    I don't recall.

  23    Q    I said -- and then I asked you, "You have no concrete

  24    evidence, you just have belief, correct;" and you said,

  25    "Correct."

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   1                MR. KRAMER:    Objection, Your Honor.     He is just

   2    reading the deposition transcripts at this point.

   3                THE COURT:    I know.   Treat it as refreshment.

   4    BY MR. PERTNOY:

   5    Q    Do you recall me asking you that you had no concrete

   6    evidence and you just had the belief that that was what Carollo

   7    did, correct?

   8    A    Yes.

   9    Q    Then we had a conversation about redrawing district lines

  10    and whether that created homestead; do you remember having that

  11    conversation?

  12    A    Yes.

  13                THE COURT:    I'm sorry, and how it created homestead.

  14                MR. PERTNOY:    How it -- whether it created homestead,

  15    I misspoke.    Sorry, Your Honor.

  16    BY MR. PERTNOY:

  17    Q    And I asked you, do you recall me asking you that -- do you

  18    recall me asking you that Commissioner Carollo could establish

  19    a homestead in Jacksonville as a citizen of Florida?          Do you

  20    remember that?

  21                MR. KRAMER:    Your Honor, I'm going to object.      I

  22    don't understand the relevance as to what he testified

  23    yesterday.

  24                THE COURT:    I assume that this is a manner of trying

  25    to closely control the witness's testimony to align with

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   1    yesterday's without impeaching him; am I wrong?

   2                MR. PERTNOY:   That's correct.

   3                THE COURT:   Do you want to just try asking the

   4    questions you asked yesterday and see how it goes?

   5                MR. PERTNOY:   I was just trying to be efficient with

   6    our time, Your Honor.

   7                THE COURT:   I recognize that you were, but you hear

   8    the objection and so get a little closer to the rules of

   9    evidence and see how it goes.

  10                MR. PERTNOY:   Sounds good.

  11    BY MR. PERTNOY:

  12    Q    So yesterday -- strike that.

  13                You understand that as a citizen of Florida, a

  14    citizen of Florida can establish a constitutional-protected

  15    homestead anywhere in the State of Florida, correct?

  16    A    Yes.

  17    Q    And Mr. Carollo, therefore, has the right to establish a

  18    constitutional-protected homestead anywhere in the State of

  19    Florida, correct?

  20    A    Not as a City of Miami commissioner.

  21    Q    That wasn't my question, let's try it again.

  22                My question was:    As a citizen of Florida,

  23    Mr. Carollo has the right to establish a

  24    constitutionally-protected homestead anywhere in the State of

  25    Florida?

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   1    A    Yes.

   2    Q    Now, as an elected official, he may pay a consequence if

   3    that's not in his district, correct?

   4    A    According to our charter, yes.

   5    Q    But that would not affect his rights as a citizen of

   6    Florida to have a constitutionally-protected homestead,

   7    correct?

   8    A    No.

   9    Q    I asked it as -- it was a negative, so I want to make sure

  10    we get it clean.     So him having a homestead outside of his

  11    district as a citizen of Florida, that's okay, correct?

  12    A    Yes.   Not under the charter of the City of Miami, but as a

  13    citizen of Florida, yes.

  14    Q    Now, yesterday, your counsel asked you, "What is your

  15    understanding of how Carollo's house was put into the

  16    district," and your response was, "It magically appeared."

  17    A    Yes.

  18    Q    You have no evidence, as you sit here today, that Carollo

  19    directed or placed that home into his district, correct?

  20    A    May I spoke freely?

  21    Q    It is a yes or no question.      You have no evidence that

  22    Mr. Carollo directed or had that home placed into -- into the

  23    district, correct?

  24    A    The evidence I have is that on February 7th, Mr. De Grandy

  25    presented a map that did not have the home in it.         On

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   1    February 25th, at commission meeting -- well, no, I'm sorry, on

   2    February 22nd, I received a map that did have his home in it;

   3    and in the February 7th meeting, Commissioner De Grandy said,

   4    "I am going to meet with each commissioner to see how they

   5    would like me to change this map."

   6                MR. PERTNOY:    Move to strike as nonresponsive.

   7    BY MR. PERTNOY:

   8    Q    I asked if you had any evidence and all you have done is

   9    regurgitate so I move to strike his response as nonresponsive.

  10                THE COURT:    Overruled.

  11                MR. KRAMER:    Objection, Your Honor, that was the

  12    witness's testimony.

  13                THE COURT:    You already won, Mr. Kramer.

  14    BY MR. PERTNOY:

  15    Q    I asked you yesterday, the 3-2 vote -- strike that.

  16                The redistricting, that is a constitutionally

  17    legislative required act by all the commissioners, correct?

  18    A    Yes.

  19    Q    And so all of the commissioners participated in that

  20    process, correct?

  21    A    Yes.

  22    Q    Because it is their job, correct?

  23    A    Yes.

  24    Q    It is not egregious for a commissioner to participate in

  25    that constitutionally-mandated requirement as a commissioner,

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   1    correct?

   2    A    Unless they are not allowed to for their own ethical

   3    conflicts of interest.

   4    Q    And as you sit here today, there has been no one who has

   5    affirmatively said that a specific commissioner, any

   6    commissioner, was not allowed to participate in that vote,

   7    correct?

   8    A    As was established by the city attorney, it is up to that

   9    commissioner to make that decision.

  10    Q    Now, finally, when -- and I asked you yesterday, the house

  11    that you were living in at the time of the redistricting map,

  12    that remained in your district, correct?

  13    A    Yes.

  14    Q    As did all of the other commissioners' homes, correct?

  15    A    Yes.

  16    Q    Now, subsequent to the 3-2 vote, after you left the

  17    commission, there was another map that was -- had to be

  18    reissued, correct?

  19    A    After the 3-2 vote on March 24th, that one.

  20    Q    Right.   And then subsequently, in June of 2023, there was

  21    another map that was voted on, correct?

  22    A    Yes, I was off the commission.

  23    Q    Correct.   You were off the commission, and that map was

  24    approved four-to-one, correct?

  25    A    I don't know.

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   1               MR. PERTNOY:    I'm going to check my notes, but I

   2    think I'm done, Your Honor.

   3               THE COURT:    Okay.

   4               MR. PERTNOY:    No further questions, Your Honor.

   5               THE COURT:    Thank you, Mr. Pertnoy.

   6               MR. PERTNOY:    Did you ask me again?

   7               THE COURT:    I said thank you, Mr. Pertnoy.

   8               MR. PERTNOY:    I'm sorry, thank you.

   9               THE COURT:    Okay.

  10                             REDIRECT EXAMINATION

  11    BY MR. KRAMER:

  12    Q    Mr. Russell, what did you do after Carollo said he did not

  13    care if the map included his house in District 2?

  14    A    I moved to normalize the boundaries at US 1 which would

  15    then remove his house from District 2 --

  16    Q    What happened --

  17    A    -- which would maintain his house in District 2.

  18    Q    What happened to that motion?

  19    A    He voted against it.

  20               MR. KRAMER:    No further questions, Your Honor.

  21               THE COURT:    All right.    Thank you, Mr. Russell.

  22               THE WITNESS:    Thank you.

  23         (Witness excused)

  24               MR. GUTCHESS:     Your Honor, Plaintiffs call

  25    Mr. De Grandy.

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   1               MR. PERTNOY:    Your Honor, I'm going to maintain my

   2    objection as to relevance.

   3               THE COURT:    Yes, you are.

   4               MR. PERTNOY:    Thank you.

   5               THE COURTROOM DEPUTY:      Sir, please raise your right

   6    hand.

   7                MIGUEL DE GRANDY, PLAINTIFF WITNESS, SWORN

   8               THE COURTROOM DEPUTY:      Thank you.    Please be seated,

   9    speak into the microphone, state your name and spell your last

  10    name for the record.

  11               THE WITNESS:    My name is Miguel De Grandy, spelled

  12    D-E space G-R-A-N-D-Y.

  13               MR. GUTCHESS:     Thank you.

  14                              DIRECT EXAMINATION

  15    BY MR. GUTCHESS:

  16    Q    Thank you.

  17               Mr. De Grandy, where do you work?

  18    A    Holland & Knight.

  19    Q    What is your position at Holland & Knight?

  20    A    I'm a partner.

  21    Q    Were you head of the government relations practice for

  22    South Florida?

  23    A    Yes, sir.

  24    Q    And I understand you have an event to get to this afternoon

  25    and would like to get out of here as promptly as possible this

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   1    morning.

   2    A    Actually, my attorneys do, I'm staying here.

   3    Q    Okay.   That's good to know, but we will be quick anyways.

   4    A    All right.

   5    Q    Did you or your employer have a written engagement

   6    agreement with the City of Miami concerning the district maps?

   7    A    Yes.

   8    Q    And in that agreement, you were defined as a "consultant,"

   9    were you not?

  10    A    That's correct.

  11    Q    And there is no place in that agreement that talks about

  12    you providing legal advice, is there?

  13    A    That's incorrect.      The scope of services talks about my

  14    providing legal advice.

  15    Q    Okay.   I'm going to introduce into evidence Plaintiffs'

  16    Exhibit 27, which is a copy of your engagement agreement.

  17                 MR. PERTNOY:    I'm going to object, Your Honor,

  18    relevance.

  19                 THE COURT:   Yes.

  20                 MR. GUTCHESS:    Your Honor, this is the basis on which

  21    he was hired as a consultant on redistricting and demographics.

  22    It has no -- he has no -- said nothing at all about him acting

  23    as an attorney or providing legal advice, and we are going to

  24    have some objections to attorney-client privilege here, and I

  25    want to establish that the engagement agreement has nothing to

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   1    do with him acting as an attorney.

   2               THE COURT:    And how is this anything other than

   3    collateral to what we are doing?       What do I need to know from

   4    Mr. De Grandy that is going to be disputed under a claim of

   5    privilege?

   6               MR. GUTCHESS:     Okay.   So we can save that if a

   7    privilege comes up, and we can address it at that point, Your

   8    Honor.

   9               THE COURT:    Okay.

  10    BY MR. GUTCHESS:

  11    Q    Mr. De Grandy, you were not engaged in any way, shape, or

  12    form to provide asset protection advice to Commissioner

  13    Carollo, were you?

  14    A    No, sir.

  15    Q    And what consideration should be given in a redistricting

  16    process to asset protection for a commissioner?

  17               MR. PERTNOY:    Objection, Your Honor.

  18               THE COURT:    Overruled.

  19    BY MR. GUTCHESS:

  20    Q    And you were not engaged by Mr. Carollo individually to

  21    provide him any asset protection advice, were you?

  22               MR. PERTNOY:    Objection.

  23               THE COURT:    Relevance?

  24               MR. PERTNOY:    Relevance, among many others, but

  25    relevance, it seems to be relevance.

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   1                 THE COURT:   Do you want to pick another one?

   2                 MR. PERTNOY:   It's -- it assumes facts not in

   3    evidence.     There is no -- he hasn't even testified that he was

   4    engaged by Mr. Carollo.

   5                 THE COURT:   Overruled.

   6                 I think you gave the response; but, Mr. De Grandy, I

   7    don't know if the court reporter caught it over the objection.

   8    Do you mind repeating your answer?

   9                 THE WITNESS:   No.

  10    BY MR. GUTCHESS:

  11    Q    Thank you, sir.

  12                 Now, Mr. De Grandy, you have testified in the past

  13    about requests made by the commissioners to change district

  14    lines; isn't that right?

  15    A    Those that are in the public record, yes.

  16    Q    For example, you talked about Commissioner Carollo's desire

  17    to move District 3 deeper into Shenandoah, correct?

  18    A    That was part of the public record, yes.

  19    Q    Okay.    And there is no -- there was no claim of privilege

  20    as a commissioner requesting to move a district line as long as

  21    it is in the public record, correct?

  22    A    That's correct, yes.

  23    Q    Okay.    And when you drew up your first map that was

  24    introduced earlier this morning, you did not include

  25    Mr. Carollo's home in District 3; is that correct?

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   1    A    Could you make sure you tell me which home?

   2    Q    Yes.    The home at 3220 Morris Lane is Commissioner

   3    Carollo's home, on Morris Lane.         You did not include the Morris

   4    Lane home in District 3, did you?

   5    A    I did not.

   6    Q    Why not?

   7    A    No particular reason.      I had drawn a plan that had

   8    sufficient population for each one of the districts, following

   9    constitutional principles.

  10    Q    Okay.    And, Mr. De Grandy, in your map that was distributed

  11    on February 22nd, that was introduced into evidence this

  12    morning, in that second map, you did draw the lines to include

  13    Mr. Carollo's home into District 3, correct?

  14    A    That's correct.      I made several changes that resulted in me

  15    [unintelligible] population.

  16    Q    And the reason that you drew Mr. Carollo's home into

  17    District 3 was because you thought it would please the

  18    commissioner, correct?

  19                 MR. PERTNOY:    Objection, leading.

  20                 THE COURT:    Overruled.

  21                 THE WITNESS:    That was a consideration, as I said, in

  22    the public record when I presented the plan.         We had taken out

  23    the Bay Heights area out of District 3.        We had also reduced a

  24    portion of the triangle that would have gone to District 4, and

  25    so I needed, because I took out that part of Bay Heights, to

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   1    bring in additional population to equalize districts.

   2    BY MR. GUTCHESS:

   3    Q    Okay.    But that has nothing to do with pleasing the

   4    commissioner, right?

   5    A    What has nothing to do?

   6    Q    Well, I asked you that the reason you drew the

   7    commissioner's home into District 3 was to please Commissioner

   8    Carollo, correct?

   9    A    And I just told you that was not the only reason.

  10    Q    But that was one of the --

  11    A    It was a consideration.     I have two considerations in

  12    drawing a district plan, one that is constitutional and one

  13    that can get a consensus vote.

  14    Q    And you wanted to make Mr. Carollo happy, did you not?

  15    A    I wanted to make sure I had a consensus plan.

  16    Q    You previously testified in federal court before Judge

  17    Moore that you did it to make him happy, and I quote "make him

  18    happy," right?

  19    A    I said I thought it would make him happy, yes.

  20    Q    Yes.    And the reason you thought it would make him happy

  21    was because of the lawsuit by the Ball & Chain against

  22    Commissioner Carollo and his concern about his house being

  23    liened?

  24                 MR. PERTNOY:   Objection, it's his witness and he is

  25    leading the witness.

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   1                THE COURT:   All right.    I am prepared to recognize

   2    that this is an adverse witness.

   3                Overruled, you can answer the question.

   4                THE WITNESS:   Please state the question.

   5    BY MR. GUTCHESS:

   6    Q    Yes.   And the reason you knew it would make Commissioner

   7    Carollo happy is because you knew about the lawsuit by the Ball

   8    & Chain against Mr. Carollo, and you knew that there would be a

   9    lien placed upon his house if he was not able to move back in

  10    and obtain homestead?

  11                MR. PERTNOY:   Objection.

  12                THE WITNESS:   The answer, as you phrase your

  13    question, no because, at that time, I didn't know whether there

  14    was going to be a judgment or not.

  15    BY MR. GUTCHESS:

  16    Q    Mr. De Grandy, in your deposition in the Grace case, before

  17    this Court, did you not testify that, "I didn't include

  18    Carollo's home in my first map.       I can tell you that I saw

  19    numerous articles in the Ball & Chain lawsuit whether the

  20    commissioner's house was going to be involved and liened," et

  21    cetera, et cetera.     And so, you know, that's why I put it into

  22    the district."

  23                Did you not testify under oath to that exact

  24    statement?

  25    A    I did.

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   1    Q    Okay.   And at the time, Mr. De Grandy, there were no public

   2    articles, were there?

   3    A    Yes, there were.

   4    Q    Which public articles did you read on February 2022 about

   5    the lawsuit that may end up with a lien on Commissioner

   6    Carollo's house?

   7    A    I don't recall specifically.       There were articles in blogs,

   8    there were articles in newspapers.

   9    Q    Mr. De Grandy, you had a conversation with Mr. Carollo

  10    where he asked you to redraw the district lines so he could

  11    move into his house and claim homestead if there was a verdict

  12    in this case, correct?

  13                 MR. MILLER:    Objection, I'm going to object to any

  14    inquiry into any part of the deliberative process that would

  15    have occurred in the meetings between Mr. De Grandy's

  16    consulting the commissioners with the City's legislative

  17    privilege.

  18                 THE COURT:    Mr. De Grandy, I know you have protracted

  19    experience in this particular space.        So do you understand the

  20    City's objection here with respect to legislative privilege?

  21                 THE WITNESS:    Yes, and I can also --

  22                 THE COURT:    My turn.   Can you answer the question

  23    without invading on the legislative privilege?

  24                 THE WITNESS:    I could not, as to any conversations

  25    unless he is asking me for conversations that occurred in the

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   1    public record.

   2               THE COURT:    Can I see the deposition transcript you

   3    are relying on?

   4               MR. GUTCHESS:     Your Honor, I have the deposition

   5    transcript and the trial testimony.

   6               THE COURT:    I just want to see the one you are

   7    questioning him about, the last question and answer.

   8               MR. GUTCHESS:     Let me get the exact line for you.

   9               THE COURT:    Okay.   I have lost track of the exact

  10    question that you have pending, I think that your last question

  11    was in February of 2022, what he knew.        Do you mean 2023?     And

  12    if you don't, what was happening in February of 2022, that is

  13    relevant because I'm -- then I'm lost.

  14               Do you want your transcript back?

  15               MR. GUTCHESS:     I believe the redistricting was

  16    happening in February of 2022.       My question for Mr. De Grandy

  17    was about conversations he had with Mr. Carollo, and there was

  18    an objection, and there was a discussion of legislative

  19    privilege.

  20    BY MR. GUTCHESS:

  21    Q    And I would like to get into that because, Mr. De Grandy,

  22    do you recall when I first started questioning you, you told

  23    this Court that nothing about your role involved asset

  24    protection for Mr. Carollo, correct?

  25    A    That's correct.

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   1    Q    Okay.    So if you had conversations with Mr. Carollo about

   2    his homestead, that would not be any part of your role in

   3    advising the City on the maps, correct?

   4                 MR. PERTNOY:    Objection, I think that now we are into

   5    the world of hypotheticals.

   6                 THE COURT:    Overruled.

   7                 THE WITNESS:    I never discussed asset protection with

   8    Mr. Carollo.

   9    BY MR. GUTCHESS:

  10    Q    Did you discuss the Ball & Chain lawsuit with Mr. Carollo?

  11    A    I would have to claim attorney-client privilege on that.

  12                 THE COURT:    With whom?

  13                 THE WITNESS:    The City.

  14                 THE COURT:    That's not the question.

  15                 I'm going to stop right here.     I have a very low

  16    tolerance for misuse of the invocation of privilege, as some of

  17    the attorneys in this courtroom know.        So if you need to

  18    consult with somebody before invoking a privilege on a

  19    fallacious basis, you may do so; but, I caution everyone to be

  20    honest in their assertion of privilege.

  21                 What was the question?

  22    BY MR. GUTCHESS:

  23    Q    I think the last question was whether you discussed the

  24    Ball & Chain lawsuit with Mr. Carollo.

  25                 MR. MILLER:    I would still like to bring up the

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   1    legislative privilege because any discussion that is going to

   2    be happening during that deliberative process --

   3               THE COURT:    Are you straight-faced going to tell me

   4    Mr. De Grandy's conversations with Mr. Carollo about the Ball &

   5    Chain lawsuits were part of the legislative process?

   6               MR. MILLER:    Possibly, Your Honor, if --

   7               THE COURT:    I would like a proffer.

   8               MR. MILLER:    A proffer of -- from me about --

   9               THE COURT:    How.

  10               MR. MILLER:    What I'm saying, Your Honor, is if you

  11    have a legislative body and they are discussing a legislative

  12    chain, anything they are discussing as part of that

  13    deliberative process is going to be protected by the

  14    legislative privilege, regardless of whether it is personal or

  15    political or whatever.     The whole point of the legislative

  16    privilege is to prevent this inquiry from happening, getting

  17    into the -- how legislative -- how the sausage is made,

  18    whatever that sausage looks like, that is why it is such a

  19    broad privilege.

  20               So I do believe, Your Honor, that any of those

  21    conversations that are going to occur in that room, and it does

  22    relate to redistricting, will be covered by that privilege.

  23               THE COURT:    I'm going to give you a five-minute break

  24    to speak to Mr. De Grandy.      I'm going to ask you to be mindful

  25    of the answer that he just gave with respect to what he did or

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   1    did not represent Mr. Carollo on individually; and then I'm

   2    going to let Mr. Gutchess ask Mr. De Grandy the question again,

   3    after you have consulted with him.       If there is a well-placed

   4    and informed and factual basis for asserting the privilege,

   5    then we will hear it then.

   6               MR. MILLER:    Let me be clear --

   7               THE COURT:    Not a hypothetical one, one that is

   8    informed by the actual facts and testimony that he would offer

   9    based on your advice as the attorney for the City.

  10               MR. MILLER:    Yes, Your Honor, and just to be clear,

  11    I'm not raising an attorney-client privilege here, I'm solely

  12    raising a legislative privilege.

  13               THE COURT:    I understand, but I don't want a

  14    hypothetical assertion of privilege, if there is --

  15               MR. MILLER:    Understood, Your Honor.

  16               THE COURT:    -- an actual factual basis, not what he

  17    could have said or whether it could have been covered, if it

  18    transpired and, in your professional opinion, the City has an

  19    actual claim of privilege to the answer he would give in

  20    response to that question, then we will take it up then.

  21               MR. MILLER:    Yes, Your Honor.

  22               THE COURT:    And that is the full extent to which you

  23    can discuss your testimony that you have given or anticipate

  24    giving during this break, Mr. De Grandy.

  25               THE WITNESS:    Yes, ma'am.

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   1                  THE COURT:   Consultation with the City attorney with

   2    respect to its claim of privilege.

   3                  THE WITNESS:   Yes, ma'am.

   4                  THE COURT:   Five minutes, everyone.

   5                  THE COURTROOM DEPUTY:   All rise.

   6          (Recess was had at 10:26 a.m.; and the proceedings

   7           resumed at 10:43 a.m.)

   8                  THE COURTROOM DEPUTY:   All rise.    Court is in

   9    session.      Appearances are as previously noted.

  10                  THE COURT:   Okay, Mr. Gutchess, I think you are still

  11    up.

  12    BY MR. GUTCHESS:

  13    Q     Mr. De Grandy, let me restart by just asking you a related

  14    question about your trial testimony, I'm going to read it for

  15    you.

  16                  At trial, you said that you were -- "It was very

  17    clear to me where the commissioner's home was and whether the

  18    commissioner can homestead the house or not," and I tell you

  19    that testimony because I want to ask you again:         Did you have

  20    conversations with Commissioner Carollo about his desire to

  21    claim homestead on his Morris Lane property?

  22    A     About his desire to claim homestead, yes.

  23    Q     Okay.    And what did Mr. Carollo tell you about his desire

  24    to claim homestead?

  25    A     He said he was considering moving into the property and

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   1    claiming homestead.

   2    Q    And he would be unable to remain as a commissioner in

   3    District 3, if you did not redraw the map lines to include his

   4    Morris Lane property in District 3, correct?

   5    A    He would not.

   6                 MR. GUTCHESS:   All right.   No further questions.

   7                 THE COURT:   Okay, cross.

   8                               CROSS-EXAMINATION

   9    BY MR. PERTNOY:

  10    Q    Good morning, Mr. De Grandy.      How are you?

  11    A    I'm doing good.

  12    Q    Okay.   The act of drawing district lines, that in and of

  13    itself does not create or destroy a homestead, correct?

  14    A    Not to my knowledge.

  15    Q    In public hearings that were held, did any -- did

  16    Commissioner Carollo ever direct you, instruct you, or insist

  17    that his home be put in District 3?

  18    A    In any public hearing, no.

  19    Q    Did anybody ever instruct you or direct you to put his home

  20    in District 3?

  21    A    You are talking about public hearings?

  22    Q    No, I'm just saying in general.      Did anybody on

  23    Mr. Carollo's behalf ever direct you or instruct you to place

  24    his home in District 3?

  25    A    Anybody on Mr. Carollo's behalf, no.

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   1    Q    And you have no knowledge of Commissioner Carollo's intent

   2    with respect to establishing his homestead in April 2023,

   3    correct?

   4    A    No.

   5               MR. PERTNOY:     I don't think I have any more

   6    questions.    Thank you.

   7               THE COURT:    Safe travels, Mr. De Grandy.

   8         (Witness excused)

   9               MS. GOMEZ:    Your Honor, we call Commissioner Carollo

  10    to the stand.

  11               THE COURTROOM DEPUTY:      Raise your right hand.

  12               MR. PERTNOY:     Your Honor, may I approach the witness?

  13               THE COURT:    Mr. Pertnoy, you don't need my permission

  14    to move in the well.     I appreciate it, but you are fine.

  15    Understood, there is no jury.

  16           COMMISSIONER JOE CAROLLO, PLAINTIFF WITNESS, SWORN

  17               THE COURTROOM DEPUTY:      Thank you, sir, please be

  18    seated, speak into the microphone, state your name and spell

  19    your last name for the record.

  20               THE WITNESS:     Joe Carollo, C-A-R-O-L-L-O.

  21                               DIRECT EXAMINATION

  22    BY MS. GOMEZ:

  23    Q    Good morning.

  24    A    Good morning.

  25    Q    You have been a commissioner of District 3 since 2017.

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   1    A    Since -- yes, since December.

   2    Q    Since December, you are a conscientious public servant.

   3    A    Ma'am?

   4    Q    You are a conscientious public servant.

   5    A    I believe I am.

   6    Q    You want to do your job well.

   7    A    I believe I do.

   8    Q    You want to represent the people of your district the best

   9    you can.

  10    A    Yes.

  11    Q    And that means learning your city's ordinances.

  12    A    That's correct.

  13    Q    Learning the rules governing the conduct of public

  14    officials.

  15    A    Yes.

  16    Q    And the laws that apply to governing in the City of Miami.

  17    A    Yes.

  18    Q    And when you decided to run to be a commissioner, you

  19    learned the rules governing someone's eligibility for the

  20    position.

  21    A    That's one of the requirements they have.

  22    Q    You had to read the city charter.

  23    A    You had to understand what the requirements were to run for

  24    office.

  25    Q    And one of those requirements was that you needed to be a

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   1    resident of the district that you are running in.

   2    A    That's correct.

   3    Q    You wanted to be a commissioner in District 3.

   4    A    That's correct.

   5    Q    And you needed to -- so you needed to reside in District 3

   6    for a year prior to running in the election.

   7    A    Yes.

   8    Q    And there is only one home that you owned in Florida under

   9    your name, at this moment.

  10    A    The only one that I owned then, the only one that I own

  11    now.

  12    Q    And it is in Coconut Grove.

  13    A    That's correct.

  14    Q    And at the time that we are talking about in 2017, and in

  15    2016, that house in Coconut Grove was in District 2.

  16    A    Yes.

  17    Q    That's your largest asset.

  18    A    Yes.

  19    Q    That house is located at Morris Lane.

  20    A    Yes.

  21    Q    So you ended up having to move.

  22    A    Yes.

  23    Q    And you moved in, is it September of 2016?

  24    A    Correct.

  25    Q    You moved into an apartment.

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   1    A    Yes.

   2    Q    It was located at 110 Southwest 10th Street.

   3    A    I believe so.    It was on 10th Street, the address sounds

   4    like the one that I remember.

   5    Q    The important part is that it was in District 3.

   6    A    Yes.

   7    Q    Okay.

   8                 THE COURT:   Hold up.    Mr. Carollo, will you speak

   9    just a little closer to the microphone so the court reporter

  10    isn't struggling.

  11                 THE WITNESS:   Okay.    Let me move it up, because I

  12    can't move the chair.

  13                 THE COURTROOM DEPUTY:     You can't, it is bolted.

  14                 THE WITNESS:   Is that better, Your Honor?

  15                 THE COURT:   Great.

  16                 THE WITNESS:   Thank you.

  17    BY MS. GOMEZ:

  18    Q    So in 2017, you ceased claiming any homestead exemption for

  19    that Morris Lane property in Coconut Grove.

  20    A    I'm sorry.   Can you repeat the question?

  21    Q    In 2017, you ceased claiming any exception for that Coconut

  22    Grove property for, the Morris Lane property, that is located

  23    in District 2.

  24                 MR. PERTNOY:   Objection, she is referring to I

  25    believe the tax exemption which has nothing to do with

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   1    constitutional homestead protection, and so I want the Court --

   2               THE COURT:    I do understand the distinction, I think

   3    it is still relevant to intent.

   4               MS. GOMEZ:    Thank you, Your Honor.

   5               THE WITNESS:    What I insisted in having, which the

   6    law requires, is the extra homestead tax benefit that you get

   7    if you live in the property.      But at no time did that mean that

   8    I waived my constitutional homestead rights on that property

   9    and, as you stated, and I vouched that's the only property that

  10    I owned.

  11    BY MS. GOMEZ:

  12    Q    In 2017, did you have a -- were you asserting a

  13    constitutional homestead in your Coconut Grove house in

  14    District 2?

  15    A    I always felt that from the minute that I bought the house

  16    to the minute that I moved into District 3 to run for office,

  17    that I had a constitutional protection on that home, and I

  18    never gave up my constitutional protection because it was

  19    always my intention of moving back into that home.          That's why

  20    we signed a lease at the apartment that went until the

  21    election, so if I did not win, I could move back.

  22               I did win, and the only thing that I knew that I

  23    would have would be four years.       I did not know if I would run

  24    again for an additional four years, nor if I would be reelected

  25    for four years.    So all during that time, it was always my

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   1    intention, my wife's intention, that when I would be done as a

   2    commissioner or if we were not successful in the original

   3    campaign, that we would always move back to the Morris Lane

   4    address.

   5    Q     But in 2017, when you win the election and you are living

   6    in, I believe it was a Brickell apartment, Brickell Lofts.

   7    A     Yes, Brickell Lofts, yes.

   8    Q     In 2017, when you win the election and you are living in

   9    Brickell Lofts --

  10    A     Yes.

  11    Q     -- you did not have a constitutional homestead claim to the

  12    house in Coconut Grove.

  13                 MR. PERTNOY:   Objection, calls for a legal

  14    conclusion.

  15                 THE COURT:   Go with asked and answered; next

  16    question.

  17                 THE WITNESS:   Your Honor, I'm sorry.

  18    BY MS. GOMEZ:

  19    Q     Alfie Leon was your opponent in that race, right?

  20    A     Yes.

  21    Q     And after the election, he sued claiming that you weren't

  22    eligible for the position because your house was actually in a

  23    different district.

  24    A     I don't think that's quite what he claimed, but he did sue

  25    me.

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   1    Q    And did the Court find that you were a resident of

   2    District 2 -- I'm sorry, District 3 and therefore you were

   3    properly representing that district as their commissioner?

   4    A    To the best of my recollection, what the Court found was

   5    that I was properly living in District 3 and that is correct,

   6    but that has nothing to do with my constitutional --

   7    Q    And you were not --

   8               THE COURT:    Hold up, one at a time.

   9               Mr. Carollo, you've answered the question.         Once the

  10    question is answered, listen for the next one.         Your attorney

  11    is going to have a chance to ask you questions.

  12               THE WITNESS:    Yes, Your Honor.

  13               THE COURT:    Don't speak over each other.

  14               MS. GOMEZ:    Thank you.

  15    BY MS. GOMEZ:

  16    Q    And at the time, you were not living in that Coconut Grove

  17    house, you were living in the Brickell Lofts apartment.

  18    A    Yes, correct.

  19    Q    Now, in fact, you ended up moving back into the Morris Lane

  20    home in Coconut Grove during the middle of the trial in this

  21    case.

  22    A    That's not so.

  23    Q    You didn't move -- you weren't paying rent at 1521

  24    Southwest 10th Street up until April of 2023?

  25    A    Ma'am, I moved back into the Coconut Grove homestead fully.

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   1    I started moving stuff out as I could, spent a few nights in

   2    March, but fully before the trial began.        The lease had not

   3    expired until some time later in April.        My wife stayed -- my

   4    wife stayed at the house that we were living with at the time

   5    trying to pack all the furniture.       She was afraid to come with

   6    me, the house would be empty, and someone would break into it,

   7    so she was packing the furniture.       I believe we -- she rented a

   8    truck.

   9               MS. GOMEZ:    Your Honor, object, this goes way beyond

  10    my question of just when did he move.

  11               THE WITNESS:    Okay.   But I was living there to answer

  12    the question.

  13               THE COURT:    Mr. Carollo, we are going to get a little

  14    bit more formal.     Do not interrupt each other.      If I think a

  15    witness needs to be interrupted, I, only I will do that.

  16               Please do not speak over an attorney, you have.

  17               And, Mr. Carollo, I want to make sure -- we have a

  18    remote court reporter -- please don't make her job harder than

  19    it has to be.

  20               You asked when he moved and he is explaining the

  21    steps.   Mr. Carollo, you can complete your answer.

  22               THE WITNESS:    Thank you.

  23               Bottom line is -- and I don't know why it would make

  24    a difference -- before the court hearing started, I had moved

  25    physically to the Morris Lane address, and as the court

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   1    progressed, with the exception of the times that I stayed in

   2    Fort Lauderdale, I would sleep and stayed at the Morris Lane

   3    address.

   4    BY MS. GOMEZ:

   5    Q    What was the date that you moved into the Morris Lane

   6    address?

   7    A    I don't remember exactly.     I think it was a few days before

   8    the trial started.     I'm not sure exactly.     It was a couple of

   9    days before, probably in April.

  10    Q    Now, at the same time that you are dealing with this

  11    lawsuit, you are also participating in the redistricting of the

  12    City of Miami, right?

  13    A    Well, I really don't understand your question.

  14    Q    At the time you were participating in redistricting, was

  15    this lawsuit already pending?

  16    A    Yes.

  17    Q    And Mr. De Grandy started working on the redistricting maps

  18    in around 2021.

  19    A    I don't remember when, whatever was stated is what it is.

  20    I don't remember.

  21    Q    As part of that process, you met with Mr. De Grandy alone

  22    to discuss the maps that he was drawing.

  23    A    What point in time are we talking about?

  24    Q    At any point in time.

  25    A    No.

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   1                THE COURT:   Ms. Gomez, please focus your questions,

   2    you started with 2021, what period of time are you talking

   3    about?

   4    BY MS. GOMEZ:

   5    Q    Throughout the entire redistricting process.

   6    A    Well, if it started in 2021, then we had 2022 because I

   7    know we voted on it in March 2022, then we voted again for a

   8    map in June of 2023, so all during that time, I must have met

   9    with him I would imagine, to the best of my recollection, at

  10    least once in 2022 and at least once in 2023.         That's to the

  11    best of my recollection.

  12    Q    And then on March 11th of 2022, there was a commission

  13    meeting to consider community stakeholder feedback --

  14    A    Yes.

  15    Q    -- on De Grandy's February 25th map, the base map, what was

  16    being called the base map, correct?

  17    A    It was to go over the map and --

  18    Q    And during that meeting, you said were going to abstain

  19    from voting on the map.

  20    A    I don't think that's quite what I stated.        If you could

  21    bring my statement up and read my full statement, I think that

  22    would be more accurate.

  23                MS. GOMEZ:   Sure.

  24                THE COURT:   Ms. Gomez, I missed the date, could you

  25    please, it's March --

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   1                MS. GOMEZ:   March 11, 2022.

   2                THE COURT:   Okay, I apologize.

   3                THE WITNESS:   Thank you.

   4    BY MS. GOMEZ:

   5    Q    Commissioner, I would direct you to page 22 at the very

   6    top.

   7    A    Yes.

   8    Q    So I showed you the beginning of your discussion but at the

   9    very top --

  10    A    Yes.

  11    Q    -- you said, "I'm going to abstain today."        It's at the

  12    very end of the first line, "I'm going to abstain today."

  13    A    And right after that is that, "Today, even though I feel I

  14    have every right to be able to vote today."

  15    Q    But you said you were going to abstain at that commission

  16    meeting.

  17    A    And I did.

  18    Q    And -- but you ended up voting on the map at the March 24th

  19    or 25th commission meeting, correct?

  20    A    Yes, yes.

  21    Q    And you were the deciding vote.

  22    A    Well, yes, based on the actual map, if I would have let

  23    District 4 take out the sliver on the other end from Coconut

  24    Grove to District 4, they would have voted for the map, but I

  25    thought that would be unfair because then District 3 would have

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   1    to have more of Coconut Grove.

   2                 THE COURT:   You have answered the question.

   3                 Next question.

   4    BY MS. GOMEZ:

   5    Q    In effect, you said that you were going to abstain from

   6    voting because you didn't want to be used as an excuse for

   7    somebody to sue on those maps, correct?

   8    A    That's basically what is stated here that I said.

   9    Q    Okay.   And then that map, that February 25, 2022, map, the

  10    base map that was approved, based on your deciding vote, that

  11    was actually challenged in court in a case called Grace versus

  12    City of Miami, correct?

  13    A    Yes, mainly three districts, not just a slice of the Morris

  14    Lane address.

  15    Q    And on April 10, 2024, Judge Moore entered an order finding

  16    that that map was unconstitutional.

  17                 MR. PERTNOY:   Objection, relevance.

  18                 THE COURT:   Overruled, just lay a predicate, I

  19    assume.

  20                 THE WITNESS:   That's my understanding.

  21    BY MS. GOMEZ:

  22    Q    Okay.   So the map in effect today is not that February 25,

  23    2022, map.

  24    A    It is not, no.

  25    Q    It is the map --

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   1    A    It's the map of June, in effect today, it is the map of

   2    June of 2023 which was a 4-1 vote that still included the

   3    Morris Lane address in the map.       We don't have a new district

   4    that has been approved yet.

   5    Q    Has Mr. Wysong, as the city attorney for the City of Miami,

   6    said that the governing map of the City of Miami is the one

   7    that existed in 2011, that 2011-2021 period prior to the

   8    redistricting beginning?

   9                MR. MILLER:    Objection to the extent she is inquiring

  10    about privileged communications with the city attorney.

  11                MS. GOMEZ:    Public, public communications.

  12                THE COURT:    I don't understand the question well

  13    enough.

  14                THE WITNESS:    I don't either.

  15                THE COURT:    Can you rephrase?

  16                MS. GOMEZ:    Yes.

  17    BY MS. GOMEZ:

  18    Q    Is George Wysong -- has he -- is he now the city attorney

  19    for the City of Miami?

  20    A    Yes.

  21    Q    Has he represented that the current map in effect that

  22    shows the boundary lines, the districts of the City of Miami,

  23    is the one from the prior redistricting?

  24    A    I don't know.

  25                MR. PERTNOY:    Objection, I think we are talking about

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   1    an out-of-court hearsay statement.

   2                THE COURT:   Ms. Gomez, I don't know where we are,

   3    where we are going.

   4                MS. GOMEZ:   Where we are going is what his

   5    understanding is of the City's position which is the current

   6    district map.

   7                THE COURT:   Are you trying to ask this witness if

   8    what we have now, the city attorney has publicly opined as the

   9    2011 map?

  10                MS. GOMEZ:   Yes.    Is the current map, is the City --

  11    what I'm trying to understand is whether he -- does he

  12    understand the City of Miami has taken the position that the

  13    operative map drawing the districts --

  14                THE COURT:   Why?

  15                MS. GOMEZ:   Because it is relevant to whether he

  16    lives in District 2 or District 3.

  17                THE COURT:   Okay.    Let me make sure I understand your

  18    proffer.    The city attorney thinks that we have reverted to a

  19    2011 map.

  20                MS. GOMEZ:   To the prior map.

  21                THE COURT:   Okay.

  22                Is that your understanding, Mr. Carollo, that the

  23    city attorney has made that statement publicly?

  24                THE WITNESS:   No, ma'am.    I have no recollection of

  25    that being stated by him publicly or privately to me.

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   1    BY MS. GOMEZ:

   2    Q    And if that -- if your house, as a result of Judge Moore's

   3    ruling, is determined to now be in District 2, do you intend to

   4    resign as commissioner for the City of Miami for District 3?

   5               MR. PERTNOY:    Objection.    First off, it is a

   6    hypothetical.    Secondly, it's not relevant to whether his --

   7    this is his homestead or not.      We are not here about him as an

   8    elected official.     They are beyond the scope of these

   9    proceedings, at this point.

  10               MS. GOMEZ:    Your Honor, we are here for the Court to

  11    determine whether he intends to continue living in that house

  12    and making it his homestead; and so if his house is no longer

  13    in the district that he serves in as commissioner, the Court

  14    should be informed of his intention, whether he is going to

  15    continue living in the house or whether he is going to resign

  16    from his position.

  17               THE COURT:    If he is going to continue living in the

  18    house, I agree with you, but there is a limit on the witness --

  19    well, let me say it this way:      I'm going to sustain the

  20    objection to that question, and if you can ask him questions

  21    about his intention about where he intends to reside and the

  22    applicability of the exemption.

  23    BY MS. GOMEZ:

  24    Q    Where would you intend to reside, Commissioner Carollo, if

  25    your house is found to be located in District 2?

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   1                MR. PERTNOY:   Objection, it's a hypothetical and

   2    there is no facts in evidence that it's in District 2 at the

   3    moment.

   4                THE COURT:   Overruled.

   5                THE WITNESS:   On Morris Lane, even though I need to

   6    clarify that based upon the Grace offering that the City will

   7    consider at the next meeting, it either will take effect later,

   8    but it would not change any of the places where existing

   9    commissioners live in, if their home is taken from a district

  10    into another district.

  11                So the -- even though the Morris Lane address would

  12    be taken out of the district, I would be allowed to reside

  13    there, as the District 3 commissioner until my term ends in

  14    November 2025.

  15    BY MS. GOMEZ:

  16    Q    Under what exception?

  17    A    Excuse me?

  18    Q    Under what exception would you be allowed to continue

  19    living in a house that would be located in District 2?

  20    A    Under the agreement that -- if it's approved by the city

  21    commission next week, that the plaintiffs suing the City have

  22    agreed with the City that they would agree to, and then they

  23    would present that so that Judge Moore would have the final

  24    decision.

  25                But if the plaintiffs are in agreement with the City,

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   1    you would think that would be the case.        But to not beat around

   2    the bush in any way, let me be very specific to your question.

   3               Let's say that none of that was on the table, which

   4    it is, I would still be living in 3230 Morris Lane, my

   5    homestead, constitutional homestead unless someone or some

   6    court says that I can no longer serve.

   7    Q    And you would resign as city commissioner.

   8               MR. PERTNOY:    Objection.

   9               THE WITNESS:    I think I've answered that question.

  10               MS. GOMEZ:    Your Honor --

  11               THE COURT:    Okay.

  12    BY MS. GOMEZ:

  13    Q    I'm sorry, Commissioner Carollo, you said if the

  14    exception -- even if the exception didn't apply, you would

  15    continue residing in your home, so I'm clarifying.          If the

  16    exception doesn't apply, your home would be in District 2.

  17    A    A court would --

  18               MR. PERTNOY:    Objection.

  19               THE COURT:    Hang on, everyone.

  20               I don't know how many different ways I can say "don't

  21    talk over each other."

  22               So, Mr. Carollo, you didn't previously answer the

  23    question because I had sustained the objection.

  24               THE WITNESS:    Okay.

  25               THE COURT:    And, Ms. Gomez, I will sustain it again.

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   1                MS. GOMEZ:   I'm moving on, Your Honor.

   2                THE COURT:   Okay.

   3    BY MS. GOMEZ:

   4    Q    Now, if you could please tell me, Mr. Carollo, what is your

   5    wife's name?

   6    A    Marjorie.

   7    Q    When did you marry Marjorie?

   8    A    I married Marjorie in March of 2013.

   9    Q    And when did you buy the Morris Lane home?

  10    A    Morris Lane home was bought, to the best of my

  11    recollection, I think around January or February of 2002.           I

  12    wasn't married to her then.

  13    Q    And upon your marriage to Marjorie, you did not add her to

  14    the deed at the time of the marriage.

  15    A    At the time of the marriage, no.

  16    Q    And it wasn't until May 16, 2023, that you tried to add her

  17    name to the deed.

  18    A    Yes.

  19    Q    And in May 16, 2023, we were in the middle of the trial in

  20    this case.

  21    A    We were.

  22    Q    The trial in this case ended on June 1st, right, of 2023?

  23    A    I believe that was the date.

  24    Q    Now that first quitclaim, your attempt to quitclaim that

  25    house to her, did not work.

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   1                MR. PERTNOY:   Objection, misstates the facts in

   2    evidence or not each in evidence.

   3                THE COURT:   Okay, then your client will answer it;

   4    overruled.

   5                THE WITNESS:   What I tried to do was --

   6                THE COURT:   Sorry, do you want to repeat the

   7    question, Ms. Gomez?

   8                MS. GOMEZ:   Sorry.

   9    BY MS. GOMEZ:

  10    Q    Your first attempt to quitclaim deed the property to your

  11    wife or an interest in the property to your wife --

  12    A    An interest in the property for both of us.

  13    Q    -- didn't work.

  14    A    I found out later that there was a second signature that

  15    would be required, that the same person could not witness both

  16    of our signatures.

  17    Q    And so, in fact, you had to file a corrected dead.

  18    A    Yes.

  19    Q    And that corrected deed wasn't filed until February 5,

  20    2024, right?

  21    A    I don't remember, but that date could be correct.

  22    Q    Was the corrected deed filed months after the trial in the

  23    case had ended?

  24    A    It was filed some time later.      I don't remember the exact

  25    time.   Whatever it is, it is.

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   1               MS. GOMEZ:    Your Honor, if I could have a second.

   2         (Brief pause in the proceedings)

   3               MS. GOMEZ:    Your Honor, no further questions.

   4               THE COURT:    Okay.   Mr. Pertnoy, do you wish to

   5    examine?

   6               MR. PERTNOY:    Sure.

   7                              CROSS-EXAMINATION

   8    BY MR. PERTNOY:

   9    Q    Mr. Carollo, let's focus for a moment on the relevant time

  10    frame.   You confirmed to us and the Court -- when did you move

  11    back into your constitutionally protected homestead at Morris

  12    Lane?

  13    A    Permanently, it was early April, maybe a couple days before

  14    the court trial started, approximately that time.

  15    Q    To be clear, that's April of 2023.

  16    A    Correct.

  17    Q    And the redistricting votes that the plaintiffs were asking

  18    you about, that was in March of 2022.

  19    A    Correct, over a year before.

  20    Q    Now, to confirm, you own no other properties in the State

  21    of Florida, correct?

  22    A    None whatsoever.

  23    Q    And the Morris Lane property, is it less than a half-acre

  24    of contiguous land?

  25    A    It is.

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   1    Q    And it is your residence.

   2    A    It is.

   3    Q    It is your wife's residence.

   4    A    It is.

   5    Q    You both live there with the full intention that it is your

   6    permanent residence.

   7    A    Yes.

   8    Q    When you were living outside of the residence in 2016-

   9    2017, did you -- and all the way up until you went back to the

  10    residence in 2023, did you ever rent the property to anybody?

  11    A    No, it was never rented.

  12    Q    Did you maintain that property at all times?

  13    A    Of course.

  14    Q    Did you maintain it with the intention that that would be

  15    your constitutionally-protected homestead?

  16    A    Absolutely.

  17                THE COURT:   Mr. Pertnoy, I don't think this witness

  18    is adverse to you, is he?

  19                MR. PERTNOY:   He is not.

  20                THE COURT:   I wouldn't lead him then.

  21                MR. PERTNOY:   I was just trying to save a little bit

  22    of time.

  23                THE COURT:   Understood, Mr. Pertnoy.

  24    BY MR. PERTNOY:

  25    Q    When was the judgment in this lawsuit entered, do you

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   1    recall?

   2    A     I think it was sometime in the early part of June.

   3    Q     Does June 1, 2023, ring a bell?

   4    A     Well, that's when the trial ended.      I believe that's when

   5    the judge signed it, but it was not filed until ten days after.

   6    Q     Prior to the entry of the jury verdict, were you living in

   7    the Morris Lane property?

   8    A     Yes.

   9    Q     And --

  10    A     So was my wife.

  11    Q     Okay.

  12                  MR. PERTNOY:   Justin, can I get the driver's license?

  13                  Your Honor, may I approach the witness?

  14                  THE COURT:   Yes, you may.

  15                  MR. PERTNOY:   Your Honor, may I approach to provide

  16    you with a copy?

  17                  THE COURT:   Okay.    Have you given a copy to

  18    Plaintiffs' counsel?

  19                  MR. PERTNOY:   Yes.    These were previously unobjected

  20    to.

  21                  THE COURT:   Mr. Pertnoy, if you are admitting these,

  22    make sure that you adhere to our local rule with respect to

  23    redacting personal identification information before you file

  24    this.

  25                  MR. PERTNOY:   Understood.    We understand that, Your

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   1    Honor, but for purposes of I needed to have him --

   2                THE COURT:   That's fine.    I just want to make sure it

   3    doesn't go on the docket.

   4    BY MR. PERTNOY:

   5    Q    Commissioner Carollo, do you recognize this image?

   6    A    Yes.

   7    Q    What is it?

   8    A    That's a picture of my Florida driver's license.

   9    Q    And what is the address on your driver's license?

  10    A    3230 Morris Lane, Miami, Florida       33133.

  11    Q    Is that the property that you claim constitutional

  12    homestead protection in?

  13    A    Yes.

  14    Q    If you look right below where it says "safe driver," it

  15    says "issuance "-- it says an issuance date and then it has two

  16    more lines down below that "replaced date;" do you see that?

  17    A    Yes, I do.

  18    Q    What is the date it was replaced?

  19    A    I believe it says here April 2, 2023.

  20    Q    Why did you have the license replaced at that time?

  21    A    Because I had moved to and was moving to this address at

  22    the time.

  23                MR. PERTNOY:   Seek to admit Defendant's 3, Your

  24    Honor.

  25                THE COURT:   Ms. Gomez?

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   1               MS. GOMEZ:    No objection, Your Honor.

   2               THE COURT:    Admitted.

   3         (Evidence admitted as Defense Exhibit No. 3)

   4               MR. PERTNOY:    Your Honor, may I approach?

   5               THE COURT:    Yes.

   6    BY MR. PERTNOY:

   7    Q    Commissioner Carollo, can you identify the document I have

   8    handed to you as --

   9    A    Yes, it's a copy of my voter registration.

  10    Q    And what is the address on the voter registration?

  11    A    3230 Morris Lane, Miami Florida      33133.

  12    Q    And what was the date that it was issued?

  13    A    This particular card was issued on April 5, 2023.

  14    Q    And why did you have it issued on April 5, 2023?

  15    A    Because this is where I was going to be living at, this is

  16    where I was living at, and this is my residence to vote from.

  17               MR. PERTNOY:    Seek to admit Defendant's 5, Your

  18    Honor.

  19               MS. GOMEZ:    No objection.

  20               THE COURT:    So admitted.

  21         (Evidence admitted as Defense Exhibit No. 5)

  22               MR. PERTNOY:    May I approach, Your Honor?

  23               THE COURT:    Yes.

  24               MR. PERTNOY:    Your Honor, I recognize that we will

  25    have to do significant redaction before it is uploaded but --

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   1                 THE WITNESS:   I would appreciate it.

   2                 MR. PERTNOY:   Yes, understood.

   3                 And also, as part of the record, this document is

   4    designated as "highly confidential, attorneys' eyes only" by

   5    the parties' agreement.

   6    BY MR. PERTNOY:

   7    Q    Mr. Carollo, can you identify the document?

   8    A    Yes.    This is a 1040 tax return for 2022.

   9    Q    And what is the address of -- that you indicated in your

  10    tax return for your 2022 return?

  11    A    3230 Morris Lane.

  12    Q    And if you turn to the second page, please.

  13    A    Yes.

  14    Q    And it says, "paid use only."      Do you see a date down

  15    there?

  16    A    I do, even though I need to clarify.       This is the copy that

  17    I was given and I believe that the date that was put down when

  18    this was filed is erroneous.      I believe this was filed on, to

  19    the best of my recollection, on 10/15.

  20    Q    Of what year?

  21    A    Of --

  22    Q    2023?

  23    A    I believe so, yes.

  24    Q    Okay.

  25    A    No, no, that would have been -- yeah, 10/15/23 because

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   1    these were the --

   2    Q     And at the time that you filed this tax return on behalf of

   3    yourself and your wife, was -- were you living at 3230 Morris

   4    Lane?

   5    A     Yes.

   6                 MR. PERTNOY:   Seek to admit Defendant's 7.

   7                 Is there any objection to Defendant's 7 being

   8    admitted?

   9                 MS. GOMEZ:   Your Honor, I guess the witness did say

  10    that it was incorrect.      It is an incorrect document.

  11                 THE COURT:   Sorry, Ms. Gomez, do you have an

  12    objection to its admission?

  13                 MS. GOMEZ:   Your Honor, I have an objection to

  14    admitting a document that the witness says -- or has incorrect

  15    information in it, yes.

  16                 THE COURT:   The evidentiary basis for your objection

  17    is?

  18                 MS. GOMEZ:   That the document doesn't reflect the

  19    witness's testimony.

  20                 THE COURT:   On what rule of the evidence?

  21                 MS. GOMEZ:   It's not --

  22                 THE COURT:   It's not inauthentic.     I don't know what

  23    your objection is, so I don't -- other than to overrule it, I

  24    don't understand it.

  25                 MS. GOMEZ:   Your Honor, I will withdraw my objection.

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   1                THE COURT:   Okay, admitted.

   2         (Evidence admitted as Defense Exhibit No. 7)

   3                MR. PERTNOY:   May I approach, Your Honor?

   4                THE COURT:   Yes, you will have a chance at

   5    redirect -- oh, to me, yes.

   6    BY MR. PERTNOY:

   7    Q    Mr. Carollo, can you please identify the document I have

   8    handed to you?

   9    A    1040 income tax return for 2023.

  10    Q    And what is the address shown on your 2023 tax return?

  11    A    3230 Morris Lane.

  12    Q    And if you turn to the second page, was this tax return

  13    filed on or about January 29, 2024?

  14    A    Yes.

  15    Q    And if you turn to the very last page of the return --

  16    A    Yes.

  17    Q    -- do you see attached is a W-2 statement for 2023?

  18    A    Yes.

  19    Q    And this is your W-2 statement from the City of Miami?

  20    A    Yes.

  21    Q    And what address were -- does it show you have for your W-2

  22    statement?

  23    A    3230 Morris Lane.

  24    Q    And that's the constitutionally-protected homestead

  25    property that you were living in?

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   1    A    Yes.

   2                MR. PERTNOY:   Seek to admit Defendant's Exhibit 8.

   3                MS. GOMEZ:   No objection.

   4                THE COURT:   So admitted.

   5                MR. PERTNOY:   Just for the record, so it is clear,

   6    this document has been designated as attorneys' eyes only,

   7    highly confidential.

   8                THE COURT:   I will note here that the hearing is not

   9    sealed in any manner.

  10                MR. PERTNOY:   I understand that.     I haven't asked --

  11                THE COURT:   Hold up, give me a second, Mr. Pertnoy.

  12    It is incumbent on you, and pursuant to your protective order,

  13    to redact that information that should not be revealed beyond

  14    the protective order, okay?

  15                MR. PERTNOY:   Yes, Your Honor.

  16                THE COURT:   Before you file it as an exhibit to the

  17    hearing, make sure, please, that you share it with Ms. Gomez so

  18    she has an opportunity to review the proposed redactions.

  19                MR. PERTNOY:   Yes, Your Honor.

  20                THE COURT:   Thank you.

  21    BY MR. PERTNOY:

  22    Q    You were asked about another property that you had moving

  23    trucks at in April of 2023; do you recall that?

  24    A    Yes.

  25    Q    What property was that?

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   1    A    That was the rental house that we were renting in Little

   2    Havana.

   3    Q    Did you terminate that lease?

   4    A    Yes, that lease was terminated.

   5    Q    And why did you terminate that lease?

   6    A    Let me try to put it in the best way that I can.

   7                You have, ET, come home.

   8    Q    What do you mean by that?

   9    A    My wife and I both wanted to go home.       It had become

  10    difficult.    Apparently the house that we were renting, they

  11    wanted to sell it, I think, and they weren't maintaining it.           I

  12    had mold in many of the rooms, black mold.        The walls were

  13    cracking, falling down, and it started affecting me together

  14    with other ailments.

  15    Q    Mr. Carollo, did you terminate that lease at the same time

  16    that you moved back into the Morris Lane property?

  17    A    Yes.

  18    Q    So around April of 2023.

  19    A    It was April.    I think it was the later part of April.

  20    Q    And at the Morris Lane property, do you maintain an FPL

  21    account?

  22    A    Yes.

  23    Q    Did you maintain a DirecTV account?

  24    A    I believe there is a DirecTV account, yeah.

  25    Q    You get water deliveries at the house?

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   1    A    Yes.

   2    Q    You have internet at the house?

   3    A    Yes.

   4    Q    Is it fair to say you have all the functions of somebody

   5    who lives at that house, at the house?

   6    A    Yes.

   7    Q    Let me take you through like a day-in-the-life of.         So is

   8    it fair to say that you sleep at that house?

   9    A    Yes, absolutely.

  10    Q    And in -- when the trial started in April of 2023, were you

  11    sleeping at that house?

  12    A    Yes.

  13    Q    Were your clothes at that house?

  14    A    Yes.

  15    Q    Were you showering at that house?

  16    A    Yes.

  17    Q    When you got picked up to go to the courthouse for trial,

  18    where did you get picked up?

  19    A    At 3230 Morris Lane.

  20    Q    And when you ended the day at trial, where were you dropped

  21    off?

  22    A    3230 Morris Lane.

  23                Let me clarify that.     That's when we were having the

  24    trial in Miami.    When we went to Fort Lauderdale, I was staying

  25    in Fort Lauderdale at a hotel.

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   1    Q    All right.   Now, with respect -- you were asked some

   2    questions about the redistricting process; do you recall that?

   3    A    Yes.

   4    Q    Let's start with this.       Did you ever direct anyone at the

   5    City of Miami in drawing the redistricting maps to put your

   6    3230 home in your district?

   7    A    No.

   8    Q    Can you explain to the Court when the map went from the

   9    first map to the second map, how that came to be?

  10                MR. MILLER:    Objection to the extent that is going to

  11    invade the legislative privilege.

  12                THE COURT:    Have you had any chance to speak with

  13    Mr. Carollo about the extent to which this question does, in

  14    fact, invade on the legislative privilege?

  15                MR. MILLER:    It is the broadness of the question,

  16    Your Honor.

  17                MR. PERTNOY:    I'll withdraw the question in order to

  18    keep things moving along, Your Honor.

  19                THE COURT:    Okay.

  20    BY MR. PERTNOY:

  21    Q    Let me ask it this way.       To your understanding, was the

  22    change from the first map to the second map having to have

  23    anything to do with your home?

  24    A    I don't believe so at all.       I certainly don't have any

  25    recollection of that.      If I may -- and I think that's in the

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   1    record -- we were forced to expand the districts because

   2    District 2 had gotten such a large population, and I felt very

   3    strongly, even though I term limited out, so it would not

   4    affect me running again, that for the future of that district,

   5    whoever would serve, the district should have been expanded

   6    with people that had more roots in the community -- by that I

   7    mean owned their own homes -- than going to where former

   8    Commissioner Russell wanted it to go which was West Brickell

   9    which was full of apartments with transient renters.          The

  10    district was more for families that owned homes.         If you went

  11    across several blocks to Shenandoah, to the Roads, those were

  12    basically all homeowners.

  13                So that made more sense to me than going down into

  14    the West Brickell area and putting apartments, high-rise

  15    apartments with transient people that were renters.

  16    Q    So to be clear, it had nothing to do with the fact that

  17    there was a lawsuit against you.

  18    A    Of course not.    I had no idea when or even if this lawsuit

  19    was ever going to go to trial.

  20    Q    Right.

  21    A    I didn't move there until a year after March of 2022.

  22    Q    You were asked about a transfer of legal interests from

  23    yourself in the Morris Lane property to you and your wife; do

  24    you recall that?

  25    A    Yes.

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   1    Q    Why did you do that?

   2    A    Well, my wife was on the mortgage that we had, she had

   3    signed because she -- my wife had to sign and, frankly,

   4    something that I should have done long before.         I had been

   5    suffering with high blood pressure, I started getting asthma

   6    attacks.     Even during the trial, I missed a day or two because

   7    of it, and I started wondering, you know, I'm 68 -- I was two

   8    years older than when my father died at 66, you know -- how

   9    much longer am I going to live; and I wanted to make things as

  10    simple as I could, if something happened to me, for my wife

  11    into the future.

  12    Q    Was it your understanding that you had the right to do that

  13    because it was your constitutional homestead?

  14    A    Yes.    I felt that I had every right to do it because it was

  15    my constitutional homestead.

  16    Q    Now, let me ask this:     You were asked about some statements

  17    that you made in March of 11, 2022, where you said that you

  18    were going to abstain from the vote today.        What did you mean

  19    by that?

  20    A    What I meant by that was -- and, again, let me bring up the

  21    additional statement.

  22    Q    We will get there in a moment --

  23    A    What I meant by that, that I wanted to not have individuals

  24    sue the City based only on my home or not and that game being

  25    played.     I didn't know at the time what the law actually

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   1    stated, so even though I felt I didn't have any conflict, and

   2    overly cautious, I abstained.      I thought that the matter was

   3    going to be resolved that day.       It wasn't, at the end; and we

   4    had to come back on the 25th, I think it was.

   5    Q    Let me see if I can refresh your recollection.

   6                MR. PERTNOY:   May I approach, Your Honor?

   7                THE COURT:   Yes.

   8    BY MR. PERTNOY:

   9    Q    I'm going to show you a portion of the transcript from

  10    March 24th.    Can you read that statement to yourself --

  11    A    Yes.

  12    Q    -- to refresh your recollection, and then I'll ask you a

  13    question?

  14    A    Yes.

  15    Q    I'm going to take that back.

  16                Commissioner Carollo, what happened between March 11,

  17    2022, and this following commission meeting in March 24, 2022?

  18                THE COURT:   Don't answer that question.      Mr. Pertnoy

  19    is going to ask you a much more specific question.

  20                MR. PERTNOY:   Thank you, I apologize.

  21    BY MR. PERTNOY:

  22    Q    Commissioner Carollo, at the March 24, 2022, hearing, what

  23    did you advise on the dais was the reason why you would be

  24    participating in the vote?

  25    A    That since I did not have any conflict of interest that, by

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   1    Florida statutes, I had to vote.       As I stated before, I thought

   2    that the matter was going to be resolved on the previous -- on

   3    the meeting before, on March 11th.       It wasn't, and therefore,

   4    after I was informed that, by law, I have to vote.          I went and

   5    voted.

   6    Q    So you were here when former Commissioner Russell was on

   7    the stand, and he also said that this is a requirement of the

   8    commissioners, correct?

   9    A    If we are in the dais, we have to vote on any item that's

  10    before us.

  11    Q    But redistricting itself is a legislative requirement of

  12    the City of Miami Commission?

  13    A    It is, also by federal laws that we have to redistrict.

  14    Q    And so your actions in regards to the redistricting efforts

  15    by the City of Miami, were those carried out as -- in your

  16    lawful manner as an elected official?

  17    A    Yes.

  18                MR. PERTNOY:   Let me just check my notes, Your Honor,

  19    I might be done.

  20                THE COURT:   All right.

  21    BY MR. PERTNOY:

  22    Q    Just so we are 100 percent clear in your testimony here

  23    today, you have been living full-time in the Morris Lane

  24    property since at least April 2023, with the intention that it

  25    is your permanent home and your constitutionally-protected

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   1    homestead?

   2    A    Yes.

   3    Q    And in the redistricting process, you never directed

   4    anybody to place that home in your district?

   5    A    No.

   6                MR. PERTNOY:   I have no further questions.       Thank

   7    you, Your Honor.

   8                Thank you, Mr. Carollo.

   9                THE WITNESS:   Thank you.

  10                THE COURT:   All right, redirect.

  11                MS. GOMEZ:   Thank you, Your Honor.

  12                             REDIRECT EXAMINATION

  13    BY MS. GOMEZ:

  14    Q    You testified earlier that as a public servant, it is your

  15    duty to be aware of the laws that pertain to your conduct, that

  16    govern your conduct as a public official, correct?

  17    A    Yes.

  18    Q    You are aware Florida Statute 112.3143 called "Voting

  19    conflicts," correct?

  20    A    If you could give it to me so I can read it exactly.

  21                MR. PERTNOY:   Your Honor, I object that this is

  22    outside the scope of my cross.

  23                MS. GOMEZ:   Your Honor, he just crossed on whether or

  24    not he voted on it, whether he felt he was -- it was

  25    appropriate for him to vote on it.

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    1                THE COURT:   Overruled.

    2                MS. GOMEZ:   Thank you.

    3                THE WITNESS:   Okay, what part would you like me to

    4    read, the one that is highlighted?

    5    BY MS. GOMEZ:

    6    Q   Highlighted, yes.

    7    A   Two A, a state public officer may not vote --

    8                THE COURT:   To yourself, sir, just read it to

    9    yourself and then be prepared to answer the question.

   10                THE WITNESS:   I'm sorry.

   11                Yes, I read it.

   12    BY MS. GOMEZ:

   13    Q   Voting on a redistricting map that puts your house in your

   14    district is something that would inure to your private gain,

   15    correct?

   16    A   No.

   17                MR. PERTNOY:   Your Honor, hold on for a second, I

   18    believe that the law that Mr. Carollo is looking at was not

   19    enacted until July of 2023, so at the time of the vote, in

   20    March of 2022, I don't believe this was the current state of

   21    the law.    So I think it is improper to be asking a question on

   22    a law that wasn't in place.

   23                THE COURT:   Overruled; you can clarify, if you need

   24    redirect.

   25                THE WITNESS:   What is the question?      I don't

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    1    understand.

    2    BY MS. GOMEZ:

    3    Q   So you just read the law --

    4    A   Yes.

    5    Q   -- and it says that you can't vote on any matter where

    6    there would be an economic benefit to you.         The exact words

    7    "would inure to his or her special private gain," correct?

    8    A   Yes.

    9    Q   Your house, at the time that you were voting on the map,

   10    was in District 2?

   11    A   So was the house of every other commissioner that voted on

   12    the map was in their district.

   13    Q   No, no, no, you were in a different district.          You are the

   14    commissioner of District 3.

   15    A   Yeah, but the same way, their house could be affected.

   16    Q   But the maps for the other commissioners -- for the other

   17    commissioners' homes, the maps weren't the boundaries of where

   18    their homes was going to be located was not going to be

   19    affected.

   20    A   But that's the whole point.

   21                THE COURT:   Excuse me, I'm over here, thanks.

   22                Do not speak over each other again, please.        Ask a

   23    discreet question, let the witness answer it.

   24                Please, Mr. Carollo, if you can answer the question

   25    Ms. Gomez asks, it will go faster.

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    1               THE WITNESS:    I apologize, Your Honor.

    2               THE COURT:    Go ahead.

    3    BY MS. GOMEZ:

    4    Q   The homes of all the other commissioners were not going to

    5    be affected by the new district map, the base map.

    6    A   They were not going to be affected because they kept them

    7    in, but they could have been affected.        But to go beyond this,

    8    I had no idea at the time if I was going to move back in April

    9    of 2023 or not.    I didn't have a crystal ball before me,

   10    therefore, I didn't feel that I had any conflict with this

   11    statute or any other law.

   12    Q   So your largest asset is that Morris Lane home.

   13    A   Excuse me?

   14    Q   Your largest asset is the Morris Lane home.

   15    A   Yes.   It is basically all that I have.

   16    Q   And you have been sued by Mr. Pinilla and Mr. Fuller.

   17    A   Yes.

   18    Q   And your trial is now going to start in at the beginning of

   19    April 2023, first quarter of April 2023.

   20    A   Ma'am, in March of 2022, we had no idea when a trial was

   21    going to start.    In fact, we had no idea if there would even be

   22    a trial.   I was very confident in Dean Martino and, you know,

   23    this was one of the main things we put in our appeal.          But I

   24    had no idea when there would be a trial or if we would even end

   25    up going to trial.     You are talking well over a year later that

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    1    we went to court.

    2    Q   But you did have some idea that you were going to go to

    3    trial because the appeal had been denied in February of 2022,

    4    correct?

    5    A   I knew that I had a suit going on, but beyond that, I'm not

    6    a mind reading as to what the future will bring.

    7    Q   Your lawyers informed you that you had lost your appeal,

    8    you knew that you had lost your appeal.

    9               MR. PERTNOY:    Objection, asked and answered, at this

   10    point, and we are now delving into what he spoke to his

   11    attorneys about.

   12               THE COURT:    There was nothing that even approached

   13    attorney-client privilege in that question.

   14               THE WITNESS:    What is your question?

   15               THE COURT:    The question, Mr. Carollo, is whether you

   16    knew in February of 2022 that the appeal had been denied in

   17    this underlying civil suit.

   18               THE WITNESS:    I'm sure that I was aware whatever

   19    appeal we had, that it was denied, but still --

   20               THE COURT:    No, no, that's the whole question,

   21    Mr. Carollo.    I'm sorry, I want to make sure we are moving this

   22    along.

   23               THE WITNESS:    Thank you.

   24    BY MS. GOMEZ:

   25    Q   So February 2022, you learned that you lost the appeal; and

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    1    in February 25th, 2022, this base map comes out, correct?

    2    A   I don't know what date it came out, but we have a map that

    3    came out.

    4    Q   But you know that you voted on the map, on the base map, at

    5    the March commission meeting.

    6    A   I voted on a map on the March commission meeting.          I think

    7    what was given to me here said the 24th.

    8    Q   So you voted on the map within a month -- within weeks of

    9    learning that you lost the appeal.

   10    A   That's when the whole issue came up before me.          It could

   11    have come before, it could have come after.         I voted when it

   12    came before the commission.

   13    Q   And your largest asset is that Coconut Grove home.

   14    A   I have already stated.

   15                MR. PERTNOY:   Objection, asked and answered.

   16                THE COURT:   Sustained.

   17    BY MS. GOMEZ:

   18    Q   And there is a statute that says that you can't vote on

   19    matters that pertain -- that you stand to gain anything from

   20    and, yet, you voted on it.

   21    A   And I already answered that.

   22                MR. PERTNOY:   Misstates the statute.

   23                THE COURT:   So that's overruled on that basis.        I

   24    didn't hear either question or if there had been an answer.

   25                THE WITNESS:   There has been an answer before, Your

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    1    Honor.    I had answered.

    2                THE COURT:   I'm sorry, I don't know what the question

    3    is.

    4    BY MS. GOMEZ:

    5    Q     Mr. Carollo, I would like you to explain to the Court how

    6    it's possible that your largest asset does not have homestead

    7    exemption, at the time that you're voting on the February 25,

    8    2022, base map that puts your house in your district so that

    9    you can now move into your house and remain commissioner, how

   10    that is not a private gain that you have and that you are aware

   11    that this is an issue because you have just lost an appeal.

   12                MR. PERTNOY:    Objection.

   13                THE WITNESS:    Ma'am --

   14                THE COURT:   I'm going to deprive myself of the value

   15    of the answer.    You don't have to explain it to the Court,

   16    sustained.

   17                If you have non-argumentive and non-repetitive

   18    questions to complete this redirect, will you please ask them

   19    now.

   20                MS. GOMEZ:   Yes, Your Honor.

   21    BY MS. GOMEZ:

   22    Q     It would be wrong for you to ask Mr. De Grandy to draw your

   23    house into the map, into the district -- into District 3 on the

   24    map that's going to be voted on, right?

   25                MR. PERTNOY:    Objection, now we are into

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    1    hypotheticals again.

    2                THE COURT:   Overruled.

    3                THE WITNESS:   What is the question?

    4    BY MS. GOMEZ:

    5    Q   That it would be wrong for you to ask Mr. De Grandy to draw

    6    your house into District 3 on the map that is going to be voted

    7    on by the commission.

    8                MR. PERTNOY:   Object to that, it's also --

    9                THE COURT:   I think you covered that issue in your

   10    exam.

   11                MR. PERTNOY:   I'll withdraw the objection.

   12                THE WITNESS:   I, to the best of my recollection, did

   13    not discuss that, as you are saying with Mr. De Grandy.           We

   14    discussed many issues that, for the most part, I don't

   15    remember.   But, in fact, I don't remember from 2022 to 2023,

   16    the two times we voted on, but that's as clear of an answer I

   17    can give you.

   18    BY MS. GOMEZ:

   19    Q   You didn't answer my question.       The question is --

   20    A   I think I did.

   21    Q   The question is:     Would it be wrong for you to do that?

   22                MR. PERTNOY:   Objection, calls for a legal

   23    conclusion.

   24                THE COURT:   Overruled.

   25                THE WITNESS:   If I had a conflict of interest on

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    1    something, yes, it would be wrong.       But I did not have a

    2    conflict of interest, and if you would like for me to explain

    3    why, I'll be happy to.

    4    BY MS. GOMEZ:

    5    Q   Yes, please do.

    6    A   Okay.   In Florida law, you don't have to be living in a

    7    home to have constitutional homestead protection.          You cannot

    8    have the tax homestead protection, in other words, from the

    9    clerk of the court of Miami-Dade, and they give you your tax

   10    homestead where you pay less taxes.        But the case law, as I

   11    researched it on my own before, was clear that for many

   12    reasons, whether jobs, whether school, you go to school, and

   13    many others, as long as you don't have homestead established

   14    anywhere else, it is your intention to return to your home,

   15    that is your homestead.      And whether my home was put into the

   16    district or not, frankly, I felt that it was homesteaded and I

   17    had homestead protection under the constitution of Florida, if

   18    I moved out for a job.     But I fully intended to move back in

   19    when that job expired or if I didn't get the job.

   20    Q   Do you recall telling David Smiley at the Miami Herald, in

   21    January 2017, that you were renting in the district?          This is

   22    right after you won the election, that you were renting in the

   23    district but that you were planning to sell your Coconut Grove

   24    home.

   25    A   No, ma'am, I do not whatsoever.

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    1    Q   And at the time that you were voting on the base map -- and

    2    again, that base map is that February 25, 2022, the map that

    3    De Grandy proposed at the time that you were voting on that

    4    base map, you were living in District 3.

    5    A   I'm sorry, I missed your --

    6    Q   At the time that you were voting on the map, the base map

    7    that Mr. De Grandy proposed --

    8    A   Yes.

    9    Q   -- you were living not in your Coconut Grove home.

   10    A   Back in March of 2022?

   11    Q   Yes.

   12    A   Yes, I was living in Little Havana.

   13    Q   In Little Havana?

   14    A   Yes.

   15    Q   You -- now when your home gets moved into District 3

   16    through that base map, you are now able to move back into your

   17    home?

   18               MR. PERTNOY:    Objection, asked and answered, beyond

   19    the scope.    In fact, the redirect is now longer than the

   20    direct.

   21               THE COURT:    Overruled.

   22               And yet, Ms. Gomez, this is highly repetitive of the

   23    direct.    Please, a handful of more questions that gets us where

   24    it is that you are going.      I assume you are laying a

   25    foundation, but please get there.       Base map, signed, able to

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    1    move back in the house, true?

    2    BY MS. GOMEZ:

    3    Q   By voting on the base map, you are able to move back

    4    into the Coconut Grove home and remain the commissioner for

    5    District 3.

    6    A   Yes, just like in June of 2023, and before one vote --

    7               THE COURT:    No, Mr. Carollo.      "Yes" was the answer.

    8               THE WITNESS:    Yes.

    9               THE COURT:    Ms. Gomez.

   10    BY MS. GOMEZ:

   11    Q   That was a gain that you obtained by voting on that map?

   12    A   No, ma'am, because when I voted on that map, I had no idea

   13    that over a year later, I was going to be moving.

   14               THE COURT:    Okay.    I'm going to shortcut it.

   15               Did you obtain a benefit by the redistricting map

   16    being signed in the manner that let you move back into the

   17    house, would you characterize it as a benefit?

   18               THE WITNESS:    My answer is no, for the reasons that I

   19    stated, Your Honor.

   20               THE COURT:    Okay.

   21               MS. GOMEZ:    Your Honor, I don't have any further

   22    questions.

   23               THE COURT:    Okay.    All right.

   24               Mr. Pertnoy, I told you, you could have redirect on

   25    this document, if you want it.

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    1               MR. PERTNOY:    I think we will just keep the train

    2    moving on schedule, Your Honor.

    3               THE COURT:    Appreciate it.

    4               Okay.

    5               All right, Mr. Carollo, you can return to the --

    6    well, I don't think there is room at the counsel table, you can

    7    have a seat behind your attorneys.

    8               THE WITNESS:    Thank you, Your Honor.

    9        (Witness excused)

   10               THE COURT:    Okay, I think, Ms. Gomez, you told me you

   11    had three witnesses.     Does that conclude your evidentiary

   12    presentation?

   13               MS. GOMEZ:    Yes, Your Honor.

   14               THE COURT:    Then, Mr. Pertnoy, I think that,

   15    likewise, you told me that your only witness was going to be

   16    Mr. Carollo; is that right?

   17               MR. PERTNOY:    Well, before I even get there, I mean,

   18    I have other witnesses I can call, but I have a motion to make

   19    with respect to involuntary dismissal, since they have now

   20    rested.

   21               THE COURT:    Involuntary dismissal?

   22               MR. PERTNOY:    Of their objection, yes.

   23               THE COURT:    Okay.   So I understand that, I wasn't

   24    able to get the order filed in advance, but the vehicle that

   25    you keep trying to invoke, I cannot find any law that supports

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    1    your insistence that Rule 12 or Rule 56 apply in the manner

    2    that you are suggesting.

    3                You have filed a claim of exemption.       They have

    4    objected.    We have now conducted an evidentiary hearing, and I

    5    will enter a report and recommendation to Judge Smith with my

    6    findings as to whether or not they have carried their burden on

    7    their objection.

    8                So if you want to be heard on whether or not they

    9    have met their burden, I would agree with you that that is

   10    salient, and you should have the opportunity to do so, but I'm

   11    not going to keep entertaining this procedural vehicle that you

   12    are advancing.    You had the chance, I disagree that Rule 12 is

   13    applicable here, that there is a complaint to be dismissed on

   14    its face, 12(b) applies to complaints.        I understand that you

   15    think they should have brought a complaint, but they didn't and

   16    I can't dismiss what doesn't exist.

   17                MR. PERTNOY:   Very well, Your Honor.      I will raise it

   18    in my arguments then.

   19                THE COURT:   Understood, okay.

   20                Okay, you carry the burden and what I might suggest

   21    is that -- well, I understand that both parties have an

   22    interest in having this decided as quickly as it can; but, as

   23    often happens, arguments tend to come out differently at oral

   24    argument than they do on the briefing.        If you want -- I don't

   25    think we need any more briefing, but if either of you are going

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    1    to ask for closings in writing, tell me now; otherwise, let me

    2    just hear, Ms. Gomez, your summary on your objection and the

    3    evidence that you think supported it.

    4               MS. GOMEZ:    Your Honor, we would like to present the

    5    summary of the evidence in writing.

    6               THE COURT:    If you are going to do so, then,

    7    because -- I will just tell you that sometimes, I don't quite

    8    get the most direct answers when I ask them here, in oral

    9    argument, like what are the salient dates on which you are

   10    traveling for some of these events, because you really, I

   11    think, have two theories and they overlap to some degree

   12    factually but not legally.

   13               And so I -- if you are going to submit something in

   14    quick measure, I want you to advance it in a like almost

   15    finding of fact way, "This is the legal premise, and this is

   16    the evidence on which I want you to rely that this thing

   17    happened on that date," or that this thing happened at all as

   18    opposed to just another anticipation of the evidence type of

   19    briefing, okay?

   20               MS. GOMEZ:    Understood.

   21               THE COURT:    And that doesn't mean you need a

   22    transcript.    Both sides will rely on their best recollection

   23    and their notes and what they think happened here.          A

   24    transcript will eventually benefit you for the objection

   25    period; but in quick measure, what it is that you are advancing

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    1    happened that supports your theory which I think you can

    2    acknowledge does push the envelope under existing Florida law.

    3               So it is the primary reason that I will afford you

    4    the opportunity to make sure that you have presented the

    5    argument that you are intending to make so that I am sure I

    6    understand it.

    7               MS. GOMEZ:    Thank you.

    8               THE COURT:    Do you want simultaneous response or do

    9    you -- no, your team is already shaking their head.

   10               MR. PERTNOY:    Two things:     Number one is, I would

   11    like to be able to make my argument on the issues that I

   12    raised, regardless of the fact that this doesn't travel under

   13    Rule 12 because I do have points on the objection from a

   14    procedural standpoint that I think end this inquiry; but to the

   15    extent that the Court then wants them to write their findings,

   16    I would then want to respond to them.

   17               THE COURT:    Okay.

   18               MR. PERTNOY:    May I approach the lectern?

   19               THE COURT:    Yes, but you have to keep it tight

   20    because we are both seeing it in writing, and we are going to

   21    get into writing a second time.

   22               MR. PERTNOY:    That's fine, Your Honor.       I'm going to

   23    make it very tight.

   24               THE COURT:    And by that, I didn't mean fast,

   25    Mr. Pertnoy.

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    1               MR. PERTNOY:    I understand, speak slowly but speak

    2    efficiently.

    3               So with respect to their heavy burden of objection,

    4    they had to establish by evidence that they had a valid lien

    5    and that it attached to the homestead and that the homestead

    6    exemption was not valid.      They did not put forth today any

    7    evidence of a valid lien.      You didn't get any valid lien

    8    documentation from you [sic].       They failed to meet their burden

    9    to establish a valid lien under 55.10 which is, under 55.10,

   10    they needed to show to in this Court today and establish that

   11    they had a recorded judgment that had the proper affidavits and

   12    that it was all done simultaneously.        You didn't get any of

   13    that evidence today.     And so that is the condition precedent to

   14    getting out of the gate.      And they rested, and they did not

   15    provide you with a valid enforceable lien that has the judgment

   16    and the affidavits that are simultaneously recorded.

   17               I had an expert sitting here ready to rebut that, had

   18    they done so, because the facts of the matter are that there is

   19    no valid lien, but they didn't even present that they had a

   20    valid lien.

   21               THE COURT:    Slow down.

   22               Is the lien not attached to the objection itself?

   23               MR. PERTNOY:    No.   In their objection --

   24               THE COURT:    Hang on just because I am sure that I

   25    have seen it, and now I'll ask the plaintiffs' counsel, but --

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    1               MR. PERTNOY:    Your Honor, in their objection,

    2    they maybe attached the June one, which was just the judgment

    3    which didn't comply with 55.10.       In their response, they

    4    attach, not as evidence -- and I don't even know if it was

    5    attached to the response, what they filed in February of 2024.

    6               But they did not present any evidence, and we raised

    7    as a grounds to their objection that they did not have a valid

    8    lien.   They needed to overcome that evidentiary burden and you

    9    didn't even get a lien introduced.

   10               So they missed the first condition precedent.          And as

   11    I said in the beginning of my arguments with respect to the

   12    Florida Supreme Court in Havoco and in FTC and onward through

   13    the Eleventh Circuit that they needed to establish that there

   14    was fraudulent and egregious conduct that then resulted in

   15    funds obtained through that fraud or egregious conduct which

   16    were used to invest, purchase, or improve the homestead.           They

   17    didn't introduce any evidence as to funds or that any funds

   18    were even those of the plaintiffs that were then used for the

   19    purposes of purchase, investment, improvement of the homestead.

   20    So at every level, they did not meet the conditions of the

   21    claim that they needed to prove in their objection.

   22               Why do we need to spend more time and money briefing

   23    that which they didn't meet their heavy burden on?          This should

   24    be resolved and resolved now, because they didn't meet their

   25    burden and they didn't even give you a valid lien.

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    1               Thank you.

    2               THE COURT:    Okay.

    3               The two liens that are attached to the response is

    4    Exhibits V and Z?

    5               MR. PERTNOY:    They didn't introduce them into the

    6    evidence in an evidentiary hearing.        I have an expert sitting

    7    here ready to testify that they did not comply with 55.10, the

    8    statute in simultaneously recording the -- because they

    9    originally in their objections say, "We did it in June," but

   10    they themselves concede that they didn't do it right in June of

   11    2023 because they didn't attach the affidavits.

   12               They then rerecorded in February, but it is required

   13    that it's recorded simultaneously.       And they are on different

   14    books, different days, hundreds of pages apart, that is not

   15    simultaneous, and my expert would have testified had they put

   16    forth that evidence.     But they chose, for whatever reason, not

   17    to establish the very first element of their objection, that

   18    they have a valid lien.      They didn't do it.

   19               There is nowhere left to go.       They -- they did not do

   20    what they were supposed to do at an evidentiary hearing, and

   21    they can't rescue themselves from that, and the Court can't

   22    take the evidence -- or that's not even evidence because it is

   23    affidavits of their clients.      The affidavits, I get to test the

   24    veracity of those affidavits against their clients.          So it is

   25    not evidence on its face, as well.       So they needed to do this

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    1    at an evidentiary hearing that they have been begging for and

    2    then they dropped the ball and fumbled it on the kickoff.

    3               So as far as we are concerned, this -- they didn't

    4    meet their burden at any stretch of the imagination, and they

    5    didn't meet their burden under the case law for Havoco, FTC

    6    with respect to establishing traceable funds, and all these

    7    other things.    I really do not think that we need to waste more

    8    time and more attorney's fees on an issue where they have

    9    failed to meet their burden.

   10               THE COURT:    Okay.   I understand.

   11               I told you at the beginning that I would afford the

   12    parties the opportunity to be heard, and if the plaintiffs want

   13    to submit something in seven days, and if you want to respond

   14    in seven days, I am inclined to give you all a 20-page limit on

   15    it.   I think it should be shorter, but I don't know the extent

   16    to which either of you would want to try --

   17               MR. PERTNOY:    That's fine, Your Honor.       I just wanted

   18    to say my piece.    I thank you and the Court for all the time

   19    that you have afforded us today.

   20               THE COURT:    Likewise, Mr. Pertnoy.

   21               I do understand your positions, and at the same time,

   22    I also recognize, as I think that many of us in this room have

   23    to, my role in this is to conduct the evidentiary hearing and

   24    make recommendations to my district court judge, and this I

   25    will do.

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    1               MR. PERTNOY:    Understood, and I have to advocate

    2    vigorously on behalf of my clients.

    3               THE COURT:    Understood.    Okay.   All right, so we all

    4    know where we understand.

    5               Seven days, Ms. Gomez?

    6               MR. GUTCHESS:     Your Honor, we have, I think, 12

    7    briefs due next week oddly.

    8               THE COURT:    Twelve briefs due next week.

    9               MR. GUTCHESS:     Yes.

   10               THE COURT:    So you are asking for what date?

   11               MR. GUTCHESS:     Fourteen days.

   12               THE COURT:    Let me just look.

   13               Okay.   I can't think what prejudice your client

   14    suffers by not having this decided, but you're shaking your

   15    head.

   16               MR. PERTNOY:    Fourteen days, and I would just ask for

   17    the reciprocal.

   18               THE COURT:    That is fine.     I was going to extend it a

   19    little bit anyway because you have the holiday in between, I

   20    think.   So 31st for the plaintiffs, June 14th for Defense

   21    Counsel.

   22               MR. PERTNOY:    Your Honor, just as a housekeeping

   23    reminder, we also have to, at some point, get an evidentiary

   24    hearing on the head of family for the garnishment.          So maybe we

   25    set a status conference to get a date for that, so that we can

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    1    plan ahead, but I just want to bring that to the Court's

    2    attention.

    3               THE COURT:    No, you are right, and so that following

    4    week is when I'm on criminal duty, so I would rather allow you

    5    to complete your briefing, and then we will look to the end

    6    of -- the last week of June to conduct a hearing on that, if

    7    the parties -- well, let me say this -- never mind.

    8               Look to the week -- the final week of June 24th.          I

    9    don't disagree with you that we might want to have a telephonic

   10    status conference for the purpose of finalizing a date for it,

   11    and any other interim deadlines that have to be set, so we will

   12    solicit your availability for a telephonic status conference

   13    sometime during your briefing schedule on this; but still, it

   14    will be short, and it will be for the purpose of you being able

   15    to advance a conflict.

   16               MR. PERTNOY:    For the Court's edification, just a

   17    reminder, I'm going to be out of the country from June 12th

   18    through the 29th.

   19               THE COURT:    We probably won't have it that week.

   20               MR. PERTNOY:    Understood, I'm just reminding the

   21    Court, and I thank you for your ability to roll with the

   22    punches on that.    Thank you.

   23               THE COURT:    Sure.

   24               So let's try to have the status conference sooner

   25    rather than later then.      We will solicit your availability, if

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    1    you guys can talk next week, okay?

    2                MR. PERTNOY:    Thank you very much, Your Honor.

    3                THE COURT:    Thank you all.

    4                MS. GOMEZ:    Thank you.

    5        (PROCEEDINGS ADJOURNED AT 12:07 P.M.)

    6                             C-E-R-T-I-F-I-C-A-T-E

    7                   I hereby certify that the foregoing is

    8           an accurate transcription and proceedings in the

    9           above-entitled matter.

   10
         5/28/2024                         /s/DIANE MILLER
   11     DATE                       DIANE MILLER, RMR, CRR, CRC
                                     Official Court Reporter
   12                                United States District Court
                                     101 South U.S. Highway 1
   13                                Fort Pierce, FL 34950
                                     772-467-2337
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